       Case 2:21-cv-08533-MCS-SP                                Document 280 Filed 02/12/24                             Page 1 of 55 Page ID
AO 121 (     6/    )                                                   #:7088
TO:

                                                                                                        REPORT ON THE
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    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                     WRITTEN OPINION ATTACHED                                        DATE RENDERED

                  Order         X Judgment                                       Yes        X No                                        2/12/2024

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          Case 2:21-cv-08533-MCS-SP      Document 280 Filed 02/12/24      Page 2 of 55 Page ID
                                                #:7089



                                        AO121 ATTACHMENT
 US Copyright   Title of the Work                                              Author or Work per USCO
 Registration
   Number
PAu3810689      Brazzers Exxtra - Yoga Freaks: Episode Four                    MG Premium Ltd.
PAu003886276    Brazzers Exxtra - Swipe the Slate Clean: Part One              MG Premium Ltd.
PAu003886238    Brazzers Exxtra - The Daily Special                            MG Premium Ltd.
PAu003884047    Mofos B Sides - Anniversary Sex on the Couch                   MG Premium Ltd.
PAu003848320    Ebony Sex Tapes - Ebony GF's Pre-Party Pounding                MG Premium Ltd.
PAu003848315    Stranded Teens - Ebony Raver Gets Freaky in Field              MG Premium Ltd.
PAu003848305    Pervs On Patrol - Big Tit Babe Twerks on Trampoline            MG Premium Ltd.
PAU003835300    Public Pickups - Smoking Blonde Flashes for Fun                MG Premium Ltd.
PAU003835299    ZZ Series - Power Bangers: A XXX Parody Part 4                 MG Premium Ltd.
PAU003829948    Dirty Masseur - I'd Rather Be In Cali                          MG Premium Ltd.
PAU003829917    Moms in control - Sex-Starved Soccer Moms                      MG Premium Ltd.
PAU003829915    Real Wife Stories - My Boss Wants My Wife                      MG Premium Ltd.
PAU003829907    Latina Sex Tapes - Sexy Latina Showered in Cum                 MG Premium Ltd.
PAU003829879    Public Pickups - Babe Fucks in Bathroom for Tattoo             MG Premium Ltd.
PAu003829760    Brazzers Exxtra - Metal Rear Solid: The Phantom Peen (A        MG Premium Ltd.
                XXX Parody)
PAu003829757    Brazzers Exxtra - Slut Hotel: Part 1                           MG Premium Ltd.
PAU003829747    Brazzers Exxtra - Valentina's Ass Is A Work Of Art             MG Premium Ltd.
PAU003829729    Public Pickups - Stairwell Sex With Haven Rae                  MG Premium Ltd.
PAu003829704    Brazzers Exxtra - Don't Touch Her 3                            MG Premium Ltd.
PAU003829703    Latina Sex Tapes - Betrayed Latina Gets Cop Cock               MG Premium Ltd.
PAU003829697    Share My BF - Exhibitionist Couple Share a Roomie              MG Premium Ltd.
PAU003829692    Dirty Masseur - Rubbing Her The Right Way                      MG Premium Ltd.

A0121                                                                                            Page 1 of 52
          Case 2:21-cv-08533-MCS-SP    Document 280 Filed 02/12/24    Page 3 of 55 Page ID
                                              #:7090



PAU003829660   Dirty Masseur - The Wrong Massage Feels So Right              MG Premium Ltd.
PAU003829650   Stranded Teens - Cumming of Age â€“ Part 2                    MG Premium Ltd.
PAU003829648   Brazzers Exxtra - Girth In Her Shell: A XXX Parody            MG Premium Ltd.
PAU003829640   Public Pickups - Forest Sex with Hot Hungarian                MG Premium Ltd.
PAU003829639   Brazzers Exxtra - If The Dick Fits: Part 2                    MG Premium Ltd.
PAU003829531   Dirty Masseur - What the Client Wants, the Client Gets 2      MG Premium Ltd.
PAU003829435   Brazzers Exxtra - The Ass On Adriana                          MG Premium Ltd.
PAU003829422   Public Pickups - Young Wife Fucks for Charity                 MG Premium Ltd.
PAU003829386   Dirty Masseur - Rubbing A Cock In Her Poon                    MG Premium Ltd.
PAU003829375   Doctor Adventures - Cunnilingus: A ZZ Medical Study           MG Premium Ltd.
PAU003829220   Stranded Teens - Red Toe Cumshot for Foot Lover               MG Premium Ltd.
PAU003829183   Lets Try Anal - Anal Reward for Winning Teen                  MG Premium Ltd.
PAU003829131   Baby Got Boobs - My Buddy's Sister's Boobs                    MG Premium Ltd.
PAU003829130   Public Pickups - Hot Blonde's First Public Sex                MG Premium Ltd.
PAU003829118   Brazzers Exxtra - Good Things Cum in Small and Big Packages   MG Premium Ltd.
PAU003829117   Dirty Masseur - Applying Pressure To The Tender Pussy         MG Premium Ltd.
PAU003829086   Brazzers Exxtra - Blowing On Some Other Guy's Dice            MG Premium Ltd.
PAU003828966   Public Pickups - Leggy Brit With Big Tits Loves Big Cock      MG Premium Ltd.
PAu003828962   Brazzers Exxtra - Danny D: Life On The Road (XXX Parody)      MG Premium Ltd.
PAu003826958   Share My BF - Skyla and Kimber Share BF's Dick                MG Premium Ltd.
PAu003826667   Brazzers Exxtra - When The Food Truck Is A Rockin'...         MG Premium Ltd.
PAu003826662   Public Pickups - Beauty With Big Bush Has Public Sex          MG Premium Ltd.
PAu003826646   Brazzers Exxtra - Superbang My Ass!                           MG Premium Ltd.
PAU003826584   Latina Sex Tapes - Big Tit Latina Blows Client                MG Premium Ltd.
PAu003826509   Lets Try Anal - Anal Stretching After Yoga                    MG Premium Ltd.
PAu003826491   Doctor Adventures - Nurse A Cock In Her                       MG Premium Ltd.
PAu003826488   Doctor Adventures - Doctor, I Cheated On My Girlfriend        MG Premium Ltd.
PAu003826481   Public Pickups - Sex-Obsessed Amber Fucked Outside            MG Premium Ltd.
A0121                                                                                        Page 2 of 52
          Case 2:21-cv-08533-MCS-SP   Document 280 Filed 02/12/24      Page 4 of 55 Page ID
                                             #:7091



PAu003825993   Big Wet Butts - Big Wet Bubble Butt Bath                     MG Premium Ltd.
PAu003825906   Doctor Adventures - She's Crazy For Cock! Part 2             MG Premium Ltd.
PAu003825882   Stranded Teens - Hayden Sucks Dick For Ride Home             MG Premium Ltd.
PAu003825875   Brazzers Exxtra - Yoga Freaks: Episode Seven                 MG Premium Ltd.
PAu003825766   ZZ Series - A Brazzers Christmas Special: Part 3             MG Premium Ltd.
PAu003825757   Share My BF - Flashing Schoolgirls Share Big Cock            MG Premium Ltd.
PAu003825738   Brazzers Exxtra - Hardcore High Notes                        MG Premium Ltd.
PAu003825666   ZZ Series - A Brazzers Christmas Special: Part 4             MG Premium Ltd.
PAu003825660   Public Pickups - Curvy Latina Gets Paid to Fuck              MG Premium Ltd.
PAu003825659   Stranded Teens - Haley the Horny Christmas Hitchhiker        MG Premium Ltd.
PAu003825655   Brazzers Exxtra - Personal Trainers: Session 3               MG Premium Ltd.
PAu003825653   Brazzers Exxtra - Power Rack: A XXX Parody                   MG Premium Ltd.
PAu003825643   Mofos B Sides - Big Dick For Blonde Latina                   MG Premium Ltd.
PAu003825642   Ebony Sex Tapes - Ebony Babe's Tits Rubbed With Cream        MG Premium Ltd.
PAu003825641   Public Pickups - Cute Student 69's For Travel Money          MG Premium Ltd.
PAu003825637   Doctor Adventures - She's Crazy For Cock! Part 1             MG Premium Ltd.
PAu003825630   Brazzers Exxtra - You Can Cream On Me                        MG Premium Ltd.
PAu003825628   Brazzers Exxtra - New Years Sleaze                           MG Premium Ltd.
PAu003825606   Lets Try Anal - First Time Anal For Couple                   MG Premium Ltd.
PAu003825561   Brazzers Exxtra - Personal Trainers: Session 1               MG Premium Ltd.
PAu003825557   Doctor Adventures - My Husband Is Right Outside...           MG Premium Ltd.
PAu003825555   Brazzers Exxtra - Life Assistant Doll                        MG Premium Ltd.
PAu003825540   Brazzers Exxtra - Personal Trainers: Session 2               MG Premium Ltd.
PAU003825512   Stranded Teens - Busty Brunette Sucks Cock for Ride          MG Premium Ltd.
PAu003825509   ZZ Series - A Brazzers Christmas Special: Part 1             MG Premium Ltd.
PAu003825454   Public Pickups - Naughty Tourist Sucks Dick for Cash         MG Premium Ltd.
PAu003825451   Dirty Masseur - Another Marriage Down The Drain              MG Premium Ltd.
PAu003825442   ZZ Series - A Brazzers Christmas Special: Part 2             MG Premium Ltd.
A0121                                                                                         Page 3 of 52
          Case 2:21-cv-08533-MCS-SP    Document 280 Filed 02/12/24   Page 5 of 55 Page ID
                                              #:7092



PAu003825365   Lets Try Anal - All Natural Latina Offers Anal              MG Premium Ltd.
PAu003825341   Dirty Masseur - Can You Feel The Tightness?                 MG Premium Ltd.
PAu003825320   Public Pickups - Brunette Teen Cheats for Cash              MG Premium Ltd.
PAu003825302   Brazzers Exxtra - Chasing That Big D                        MG Premium Ltd.
PAu003825300   Public Pickups - Slim Hungarian Takes Fat Dick              MG Premium Ltd.
PAu003825297   Stranded Teens - Kristen's Long Legs and Multiple Orgasms   MG Premium Ltd.
PAu003825281   Big Wet Butts - The Big Butt Ballet                         MG Premium Ltd.
PAu003825261   Hot And Mean - Tight And Tanned: Part 1                     MG Premium Ltd.
PAu003825258   Public Pickups - Shy Student Fucks for Cruise Money         MG Premium Ltd.
PAu003825245   Brazzers Exxtra - Full Service Station: A XXX Parody        MG Premium Ltd.
PAu003817684   Stranded Teens - Natural Teen Fucks for a Ride              MG Premium Ltd.
PAu003817596   Moms in control - Teens In The Backseat                     MG Premium Ltd.
PAu003817541   Share My BF - Busted Lesbians Share Boyfriend's Dick        MG Premium Ltd.
PAu003817518   Doctor Adventures - A Dose Of Cock For Co-Ed Blues          MG Premium Ltd.
PAu003817498   Lets Try Anal - Outdoor Anal for All-Natural Roxy           MG Premium Ltd.
PAu003817320   Stranded Teens - All Natural Texan Fucked in Car            MG Premium Ltd.
PAu003817288   Share My BF - Two Bikini Babes Share a Boyfriend            MG Premium Ltd.
PAu003817287   Brazzers Exxtra - Trick And Treat                           MG Premium Ltd.
PAu003817275   Public Pickups - Creampie for Hottie in Glasses             MG Premium Ltd.
PAu003817241   Hot And Mean - ZZ Presents: Hot And Meania                  MG Premium Ltd.
PAu003817227   ZZ Series - ZZ Erection 2016: Part 4                        MG Premium Ltd.
PAu003817215   Brazzers Exxtra - The Easiest Test                          MG Premium Ltd.
PAu003816957   Brazzers Exxtra - She Wants My Dragon Balls! (XXX Parody)   MG Premium Ltd.
PAu003816800   Brazzers Exxtra - Open For Business                         MG Premium Ltd.
PAu003816547   Lets Try Anal - Horny Cutie's First Anal Experience         MG Premium Ltd.
PAu003816525   Public Pickups - Innocent Brunette Gags on Cock             MG Premium Ltd.
PAu003816509   Brazzers Exxtra - Cuffed And Fucked                         MG Premium Ltd.
PAu003816360   Latina Sex Tapes - Petite Latina with Big Ass               MG Premium Ltd.
A0121                                                                                       Page 4 of 52
          Case 2:21-cv-08533-MCS-SP    Document 280 Filed 02/12/24    Page 6 of 55 Page ID
                                              #:7093



PAu003816071   Brazzers Exxtra - The Joys of DJing                           MG Premium Ltd.
PAu003816053   Brazzers Exxtra - ZZ Lemonade: Charlotte Cross                MG Premium Ltd.
PAu003816052   Doctor Adventures - The Butt Doctor                           MG Premium Ltd.
PAu003816050   Brazzers Exxtra - Mantequilla Bay Bay!                        MG Premium Ltd.
PAu003816047   Brazzers Exxtra - Maid To Nurture                             MG Premium Ltd.
PAu003816031   Brazzers Exxtra - My Stepsister The Gamer                     MG Premium Ltd.
PAu003816028   Stranded Teens - Yoga Obsessed Blonde Gets Banged             MG Premium Ltd.
PAu003816015   Public Pickups - Euro Hottie's Sexy Amateur Pussy             MG Premium Ltd.
PAu003816011   Big Tits at School - Big Tits In History: Part 3              MG Premium Ltd.
PAu003815996   Doctor Adventures - Dr. Taylor Takes Her Medicine             MG Premium Ltd.
PAu003815995   Public Pickups - Busty Teen's Asshole Stretched Out           MG Premium Ltd.
PAu003815971   Brazzers Exxtra - ZZ Lemonade: Kristina Rose                  MG Premium Ltd.
PAu003815956   Doctor Adventures - When A Doctor Needs Help                  MG Premium Ltd.
PAu003815954   Brazzers Exxtra - Trapped And Fucked                          MG Premium Ltd.
PAu003815912   Brazzers Exxtra - Our Babysitter's Butt: Part 2               MG Premium Ltd.
PAu003815840   Brazzers Exxtra - S Is For Squirt                             MG Premium Ltd.
PAu003815839   Big Tits at School - Big Tits In History: Part 1              MG Premium Ltd.
PAu003815836   Brazzers Exxtra - Licking Locked Up                           MG Premium Ltd.
PAu003815826   Latina Sex Tapes - Cute Latina Loves her BF's Dick            MG Premium Ltd.
PAu003815805   Brazzers Exxtra - Nikki's Blind Taste Test                    MG Premium Ltd.
PAu003815793   Lets Try Anal - Tattooed Busty Babe Tries Anal                MG Premium Ltd.
PAu003815792   Pervs On Patrol - Trimmed Blonde on her Back                  MG Premium Ltd.
PAu003815774   Doctor Adventures - Pushing For A New Prescription            MG Premium Ltd.
PAu003815771   Public Pickups - Natural Gal Gets Paid for Blowjob            MG Premium Ltd.
PAu003815768   Latina Sex Tapes - Giggly Latina in Piledriver                MG Premium Ltd.
PAu003815764   Day With A Pornstar - Day With A Pornstar: Abigail and Romi   MG Premium Ltd.
PAu003815758   Dirty Masseur - Rub and Fuck Thy Neighbor                     MG Premium Ltd.
PAu003815754   Brazzers Exxtra - Cock for Cox                                MG Premium Ltd.
A0121                                                                                        Page 5 of 52
          Case 2:21-cv-08533-MCS-SP   Document 280 Filed 02/12/24   Page 7 of 55 Page ID
                                             #:7094



PAu003815706   Big Tits at School - Big Tits In History: Part 2            MG Premium Ltd.
PAu003815694   Lets Try Anal - Thick Booty Babe's First Anal Fuck          MG Premium Ltd.
PAu003815693   Public Pickups - Raven Haired Euro Chick Gets Banged        MG Premium Ltd.
PAu003815654   Stranded Teens - Stranded Spanish Cutie Sucks Dick          MG Premium Ltd.
PAu003815647   Latina Sex Tapes - Leggy Latina Plowed Doggystyle           MG Premium Ltd.
PAu003815542   Brazzers Exxtra - Let's Get Facials 2                       MG Premium Ltd.
PAu003815451   Pornstar Vote - Dillion Harper Stuffs her Mouth             MG Premium Ltd.
PAu003815391   Brazzers Exxtra - Harley In The Nuthouse (XXX Parody)       MG Premium Ltd.
PAu003815384   Mofos B Sides - Camp Counselor's Got Some Big Tits          MG Premium Ltd.
PAu003815342   Brazzers Exxtra - Office 4-Play: Intern Edition             MG Premium Ltd.
PAu003815313   Day With A Pornstar - Day With A Pornstar: Monique          MG Premium Ltd.
PAu003815309   Latina Sex Tapes - Latina Hiker Makes Outdoor Sextape       MG Premium Ltd.
PAu003815308   Stranded Teens - Petite Teen's Perfect Cupcake Tits         MG Premium Ltd.
PAu003815292   Latina Sex Tapes - Sunbathing Latina Gets Pranked           MG Premium Ltd.
PAu003815288   Doctor Adventures - She Wants It Both Ways                  MG Premium Ltd.
PAu003815257   Brazzers Exxtra - Honey, Would You Mind Milking My Nuts 2   MG Premium Ltd.
PAu003815251   Public Pickups - Euro Babe Fucked in the Woods              MG Premium Ltd.
PAu003815249   Stranded Teens - All-Natural Teen's Juicy Pink Peach        MG Premium Ltd.
PAu003815230   Latina Sex Tapes - Latina Trades Hoop for Dick              MG Premium Ltd.
PAu003815208   Brazzers Exxtra - Wham, Bam, Thank You Paper Jam!           MG Premium Ltd.
PAu003815203   ZZ Series - Ghostbusters XXX Parody: Part 4                 MG Premium Ltd.
PAu003815180   Lets Try Anal - Horny Babe Plays with Anal Beads            MG Premium Ltd.
PAu003815178   Stranded Teens - Busty Brit Blows her Rescuer               MG Premium Ltd.
PAu003815148   Lets Try Anal - Blonde MILF's Anal Experiment               MG Premium Ltd.
PAu003815140   Brazzers Exxtra - Sex Fighter: Vega Gets Vagina (XXX        MG Premium Ltd.
               Parody)
PAu003815137   Brazzers Exxtra - Sybian Gamer Girl                         MG Premium Ltd.
PAu003815118   Stranded Teens - Mixed Race Hottie's Thick Booty            MG Premium Ltd.
A0121                                                                                      Page 6 of 52
          Case 2:21-cv-08533-MCS-SP     Document 280 Filed 02/12/24     Page 8 of 55 Page ID
                                               #:7095



PAu003815102   Public Pickups - Busty Brit Makes Amateur Sex Tape            MG Premium Ltd.
PAu003815100   Brazzers Exxtra - Wonder Woman: A XXX Parody                  MG Premium Ltd.
PAu003814626   Stranded Teens - Busty Chick's Back Seat Blowjob              MG Premium Ltd.
PAu003814623   Pornstar Vote - Riley Reid Doesn't Wear Panties               MG Premium Ltd.
PAu003814576   ZZ Series - Ghostbusters XXX Parody: Part 2                   MG Premium Ltd.
PAu003814574   Brazzers Exxtra - Star Trexxx: The Captain's Seed (XXX        MG Premium Ltd.
               Parody)
PAu003814565   ZZ Series - ZZ Erection 2016: Part 3                          MG Premium Ltd.
PAu003814523   Lets Try Anal - Anal Virgin Fucked in the Ass                 MG Premium Ltd.
PAu003814504   Dirty Masseur - What the Client Wants, the Client Gets        MG Premium Ltd.
PAu003814499   Brazzers Exxtra - Your Princi-Pal                             MG Premium Ltd.
PAu003814493   Doctor Adventures - Perks Of Being A Nurse                    MG Premium Ltd.
PAu003814455   Day With A Pornstar - Day With A Pornstar: Janice             MG Premium Ltd.
PAu003814387   ZZ Series - Ghostbusters XXX Parody: Part 3                   MG Premium Ltd.
PAu003814364   Pornstar Vote - Nicole Aniston Bent Over and Plowed           MG Premium Ltd.
PAu003814329   Dirty Masseur - So Wrong Yet So Right                         MG Premium Ltd.
PAu003814326   Brazzers Exxtra - ZZ Lemonade: Aidra Fox                      MG Premium Ltd.
PAu003814310   Brazzers Exxtra - If I Was Your Boss                          MG Premium Ltd.
PAu003814175   ZZ Series - Pussy O Plomo: Part 3                             MG Premium Ltd.
PAu003814169   Doctor Adventures - Pussy Is The Best Medicine                MG Premium Ltd.
PAu003814135   Stranded Teens - Hottie is Fresh Outta Jail and DTF           MG Premium Ltd.
PAu003814078   Day With A Pornstar - Day With A Pornstar: Nikki              MG Premium Ltd.
PAu003814050   Hot And Mean - Get Your O And Go                              MG Premium Ltd.
PAu003814007   Stranded Teens - Stacked Beauty's Big Natural Boobs           MG Premium Ltd.
PAu003813992   Brazzers Exxtra - Yoga For Perverts                           MG Premium Ltd.
PAu003813985   Pornstar Vote - Cosplay Cutie Takes it Deep                   MG Premium Ltd.
PAu003813962   ZZ Series - ZZ Erection 2016: Part 2                          MG Premium Ltd.
PAu003813960   Day With A Pornstar - Day With A Pornstar: Dani               MG Premium Ltd.
A0121                                                                                          Page 7 of 52
          Case 2:21-cv-08533-MCS-SP    Document 280 Filed 02/12/24       Page 9 of 55 Page ID
                                              #:7096



PAu003813899   Lets Try Anal - Beach Blonde's Anal Creampie                   MG Premium Ltd.
PAu003813891   ZZ Series - Ghostbusters XXX Parody: Part 1                    MG Premium Ltd.
PAu003813879   Brazzers Exxtra - The Wet Look                                 MG Premium Ltd.
PAu003813870   Day With A Pornstar - Day With A Pornstar: Keisha And          MG Premium Ltd.
               Abella
PAu003813869   ZZ Series - Pussy O Plomo: Part 4                              MG Premium Ltd.
PAu003813854   Pornstar Vote - August Ames's Oiled Up Titties                 MG Premium Ltd.
PAu003813832   Pornstar Vote - Housewife Fucks on Kitchen Floor               MG Premium Ltd.
PAu003813830   Brazzers Exxtra - Sex And The Sponge Bath                      MG Premium Ltd.
PAu003813815   Public Pickups - Curly-Haired Euro Babe Begs for It            MG Premium Ltd.
PAu003813224   ZZ Series - Pussy O Plomo: Part 2                              MG Premium Ltd.
PAu003813215   ZZ Series - ZZ Erection 2016: Part 1                           MG Premium Ltd.
PAu003813191   Lets Try Anal - Latina in Glasses Does Anal                    MG Premium Ltd.
PAu003813166   Pornstar Vote - Dani Daniels Gets a Creampie                   MG Premium Ltd.
PAu003813024   ZZ Series - Pussy O Plomo: Part 1                              MG Premium Ltd.
PAu003813019   Brazzers Exxtra - Meme Lover 2                                 MG Premium Ltd.
PAu003812472   Lets Try Anal - Anal Sex for Natural Sweetheart                MG Premium Ltd.
PAu003811596   Brazzers Exxtra - Don't Trust Your Friends                     MG Premium Ltd.
PAu003810710   Stranded Teens - Aidra Fox Begs For It                         MG Premium Ltd.
PAu003810706   Lets Try Anal - Teen's Anal Birthday Gift                      MG Premium Ltd.
PAu003810697   Public Pickups - Hot Euro Chick's Round Ass                    MG Premium Ltd.
PAu003810690   Brazzers Exxtra - The Cat's Meow (XXX Parody)                  MG Premium Ltd.
PAu003810301   Stranded Teens - Busty Perv Flashes her Boobs                  MG Premium Ltd.
PAu003810024   Brazzers Exxtra - Storm of Kings XXX Parody: Behind the        MG Premium Ltd.
               Scenes
PAu003809606   Lets Try Anal - Anal for Tattooed Girlfriend                   MG Premium Ltd.
PAu003809592   Dirty Masseur - One In the Pink, Under The Sink                MG Premium Ltd.
PAu003809537   ZZ Series - Storm Of Kings XXX Parody: Part 4                  MG Premium Ltd.
A0121                                                                                           Page 8 of 52
         Case 2:21-cv-08533-MCS-SP     Document 280 Filed 02/12/24    Page 10 of 55 Page ID
                                              #:7097



PAu003809094   Public Pickups - Euro Blonde Licks the Tip                   MG Premium Ltd.
PAu003809093   Latina Sex Tapes - Busty Latina Amateur Fucks Hard           MG Premium Ltd.
PAu003808770   Brazzers Exxtra - Unexpected Dinner Guest                    MG Premium Ltd.
PAu003804387   Brazzers Exxtra - Star Whores: Princess Lay (XXX Parody)     MG Premium Ltd.
PAu003804366   Stranded Teens - Brunette Gets in a Stranger's Car           MG Premium Ltd.
PAu003804337   Lets Try Anal - GF Tries Anal in the Morning                 MG Premium Ltd.
PAu003804332   ZZ Series - Storm Of Kings XXX Parody: Part 3                MG Premium Ltd.
PAu003804327   Brazzers Exxtra - Pedal To The Anal                          MG Premium Ltd.
PAu003804320   Pervs On Patrol - Housekeeper Masturbates on Camera          MG Premium Ltd.
PAu003804307   Stranded Teens - Stranded Hottie's Wild Ride                 MG Premium Ltd.
PAu003804093   Brazzers Exxtra - Brandi Love's The Contractors              MG Premium Ltd.
PAu003804088   ZZ Series - Storm Of Kings XXX Parody: Part 2                MG Premium Ltd.
PAu003804083   Lets Try Anal - Fit Russian's First Anal                     MG Premium Ltd.
PAu003804061   Public Pickups - Euro Blonde Has Cute Small Tits             MG Premium Ltd.
PAu003803009   Lets Try Anal - Samantha Rone's Anal Sextape                 MG Premium Ltd.
PAu003800623   Public Pickups - Slender Cutie Spreads her Pussy             MG Premium Ltd.
PAu003800183   Big Wet Butts - Big Wet Miami Booty                          MG Premium Ltd.
PAu003799645   Stranded Teens - Pretty Hitchhiker Has a Nice Ass            MG Premium Ltd.
PAu003799409   Public Pickups - Hot Chick with Huge Boobs                   MG Premium Ltd.
PAu003799037   Brazzers Exxtra - My Honey Wants It Rough                    MG Premium Ltd.
PAu003798979   Brazzers Exxtra - Dollars For Inches                         MG Premium Ltd.
PAu003798963   Brazzers Exxtra - Sharing My Stepsister                      MG Premium Ltd.
PAu003798893   Public Pickups - Euro Chick Flashes Ass for Cash             MG Premium Ltd.
PAu003798892   Lets Try Anal - Ebony Babe's Anal Vacation                   MG Premium Ltd.
PAu003796901   Lets Try Anal - AJ Applegate's Anal Study Break              MG Premium Ltd.
PAu003796474   Stranded Teens - Stranded Hottie Repays the Favor            MG Premium Ltd.
PAu003796467   Dirty Masseur - Post-Match Pussy Part Two                    MG Premium Ltd.
PAu003796461   Stranded Teens - Flirty Blonde Fucked in Car                 MG Premium Ltd.
A0121                                                                                         Page 9 of 52
         Case 2:21-cv-08533-MCS-SP     Document 280 Filed 02/12/24      Page 11 of 55 Page ID
                                              #:7098



PAu003796459   Brazzers Exxtra - A Strange Case of Bubble Butt                MG Premium Ltd.
PAu003796450   Doctor Adventures - The Dick Doctor                            MG Premium Ltd.
PAu003796244   Latina Sex Tapes - Petite Latina Fucks on the Deck             MG Premium Ltd.
PAu003796207   Doctor Adventures - The Last Dick On Earth                     MG Premium Ltd.
PAu003796047   Brazzers Exxtra - The Great Public Cock Hunt                   MG Premium Ltd.
PAu003795940   Public Pickups - Bikini Blonde Flashes for Cash                MG Premium Ltd.
PAu003795937   Brazzers Exxtra - Big Surprise From Her Brother In Law         MG Premium Ltd.
PAu003795935   Latina Sex Tapes - Badass Latina Fucks Handyman                MG Premium Ltd.
PAu003795896   Lets Try Anal - Twerking Hottie's Anal Pounding                MG Premium Ltd.
PAu003795853   Stranded Teens - Czech Honey's Roadside Sex Tape               MG Premium Ltd.
PAu003795842   Lets Try Anal - GF Bends Over Car and Does Anal                MG Premium Ltd.
PAu003795804   Lets Try Anal - Tattooed Cutie has Morning Anal Sex            MG Premium Ltd.
PAu003795789   Lets Try Anal - Anal for Jillian Janson                        MG Premium Ltd.
PAu003795786   Stranded Teens - Petite Latina Gives a Good Blowjob            MG Premium Ltd.
PAu003795747   Public Pickups - Euro Babe Rides Dick Outdoors                 MG Premium Ltd.
PAu003795712   Brazzers Exxtra - Belly Dancing 4 Big Dicks                    MG Premium Ltd.
PAu003795699   Public Pickups - Mixed Race Hottie's Public Pick-Up            MG Premium Ltd.
PAu003795277   Dirty Masseur - Sitting on the Sitter's Dick                   MG Premium Ltd.
PAu003795251   Public Pickups - Euro Blonde Sucks Stranger Dick               MG Premium Ltd.
PAu003795214   Latina Sex Tapes - Latina Does 69 on Camera                    MG Premium Ltd.
PAu003795196   Stranded Teens - Fit Hitchhiker in Nude Stockings              MG Premium Ltd.
PAu003795172   Latina Sex Tapes - Freckled Latina Gets a Facial               MG Premium Ltd.
PAu003795171   Lets Try Anal - Busty Teen Tries Anal                          MG Premium Ltd.
PAu003795146   Brazzers Exxtra - A Horny Devil                                MG Premium Ltd.
PAu003794878   Lets Try Anal - Athletic Babe has Anal Sex                     MG Premium Ltd.
PAu003794877   Latina Sex Tapes - Latina Waitress's Kitchen Blowjob           MG Premium Ltd.
PAu003794874   ZZ Series - Lost In Brazzers Episode 1                         MG Premium Ltd.
PAu003794872   ZZ Series - Lost In Brazzers Episode 2                         MG Premium Ltd.
A0121                                                                                           Page 10 of 52
         Case 2:21-cv-08533-MCS-SP    Document 280 Filed 02/12/24   Page 12 of 55 Page ID
                                             #:7099



PAu003794871   Public Pickups - Hot Euro Chick with Big Tits              MG Premium Ltd.
PAu003792089   Lets Try Anal - Blonde Babe's Anal Celebration             MG Premium Ltd.
PAu003792088   Pervs On Patrol - Badass Chick on her Knees                MG Premium Ltd.
PAu003792034   Doctor Adventures - How To Take A Load                     MG Premium Ltd.
PAu003792011   Brazzers Exxtra - Living With a Girl Is Rough              MG Premium Ltd.
PAu003791957   Latina Sex Tapes - Jade Jantzen's Round Latina Booty       MG Premium Ltd.
PAu003791937   Public Pickups - Russian MILF Flashes Her Panties          MG Premium Ltd.
PAu003791912   Brazzers Exxtra - Sibling Rivalry 2                        MG Premium Ltd.
PAu003791910   Baby Got Boobs - Two Boobs, One Hole                       MG Premium Ltd.
PAu003791897   Brazzers Exxtra - Let's Get Facials!                       MG Premium Ltd.
PAu003791598   Stranded Teens - Indiana Cutie Banged in the Car           MG Premium Ltd.
PAu003791233   Lets Try Anal - Cutie's Anal Pajama Party                  MG Premium Ltd.
PAu003790899   Lets Try Anal - Big Titty GF's First Anal                  MG Premium Ltd.
PAu003790809   Brazzers Exxtra - A Hitchhiker's Guide To My Cock          MG Premium Ltd.
PAu003790799   Doctor Adventures - Son Needs A Doc - Doc Needs A Cock     MG Premium Ltd.
PAu003790764   Lets Try Anal - Cute GF Tries Anal on Camera               MG Premium Ltd.
PAu003790757   Doctor Adventures - Doctor & Nurse Take A Fucking Break    MG Premium Ltd.
PAu003790617   Lets Try Anal - Abella Danger's Anal Sextape               MG Premium Ltd.
PAu003790616   Latina Sex Tapes - Petite Latina Gets Banged               MG Premium Ltd.
PAu003790614   Public Pickups - Spanish Student's Real Big Boobs          MG Premium Ltd.
PAu003790539   Public Pickups - Euro Babe with Perky Tits                 MG Premium Ltd.
PAu003790245   Stranded Teens - Shoplifting Rebel Fucks On The Run        MG Premium Ltd.
PAu003789413   Dirty Masseur - Rachel Blows Off Some Steam                MG Premium Ltd.
PAu003789410   Brazzers Exxtra - ZZ Sex Doll                              MG Premium Ltd.
PAu003789369   Public Pickups - Spanish Beauty Gives Messy Head           MG Premium Ltd.
PAu003789340   Lets Try Anal - Latina Cutie Surprises BF with Anal        MG Premium Ltd.
PAu003789230   Project RV - Ohio Hottie Banged in the RV                  MG Premium Ltd.
PAu003789228   Latina Sex Tapes - Piledriving the Twerking Latina         MG Premium Ltd.
A0121                                                                                       Page 11 of 52
         Case 2:21-cv-08533-MCS-SP   Document 280 Filed 02/12/24   Page 13 of 55 Page ID
                                            #:7100



PAu003789123   Latina Sex Tapes - Hot Latina Teases with Big Tits         MG Premium Ltd.
PAu003789120   Public Pickups - Amirah Adara Gets Face Fucked             MG Premium Ltd.
PAu003788775   Doctor Adventures - Sexy Dentist Knows The Drill           MG Premium Ltd.
PAu003788745   Brazzers Exxtra - Arrest This Whore                        MG Premium Ltd.
PAu003788740   Moms in control - Mom's NOT In Control                     MG Premium Ltd.
PAu003788727   Brazzers Exxtra - Why Don't You Pick On Someone Your Own   MG Premium Ltd.
               Size
PAu003788688   Stranded Teens - Blonde College Chick Goes Wild            MG Premium Ltd.
PAu003788687   Lets Try Anal - Badass Stepsister Tries Anal               MG Premium Ltd.
PAu003787244   Brazzers Exxtra - Double Penetrate Date                    MG Premium Ltd.
PAu003787242   Doctor Adventures - Hot Nurse Gets The Cock Pumpin'        MG Premium Ltd.
PAu003787150   Brazzers Exxtra - A Long Rough Night                       MG Premium Ltd.
PAu003787147   Lets Try Anal - Spinner's First Anal O                     MG Premium Ltd.
PAu003787114   Mofos B Sides - Busty Wife's Afternoon Squirt              MG Premium Ltd.
PAu003787093   Project RV - Curvy Chick Takes it Doggystyle               MG Premium Ltd.
PAu003786956   Brazzers Exxtra - Netdicks and Chill                       MG Premium Ltd.
PAu003786874   Brazzers Exxtra - Rachel Starr Surprise                    MG Premium Ltd.
PAu003786820   Project RV - Cassidy Banks Gets Freaky in the RV           MG Premium Ltd.
PAu003786815   Latina Sex Tapes - Sassy Latina Works Her Pussy            MG Premium Ltd.
PAu003786812   Brazzers Exxtra - Stepsister Shares The Shower             MG Premium Ltd.
PAu003786796   Public Pickups - Feisty Euro Chick On All Fours            MG Premium Ltd.
PAu003786667   Latina Sex Tapes - Latina Rides Reverse Cowgirl Style      MG Premium Ltd.
PAu003786656   Brazzers Exxtra - Rowdy Armbar Goes Too Far                MG Premium Ltd.
PAu003786649   Brazzers Exxtra - Kalina Loves It Rough                    MG Premium Ltd.
PAu003786609   Lets Try Anal - Blonde Spinner Tries Anal                  MG Premium Ltd.
PAu003786522   Real Wife Stories - Horny Wife Gets Her Fix                MG Premium Ltd.
PAu003786487   Public Pickups - Hot Russian Fucks for Money               MG Premium Ltd.
PAu003786395   Stranded Teens - French Blonde in Red Lipstick             MG Premium Ltd.
A0121                                                                                      Page 12 of 52
         Case 2:21-cv-08533-MCS-SP     Document 280 Filed 02/12/24     Page 14 of 55 Page ID
                                              #:7101



PAu003786381   Public Pickups - Euro Cutie Takes a Sexy Survey               MG Premium Ltd.
PAu003786281   Brazzers Exxtra - Stepmom Likes It Rough                      MG Premium Ltd.
PAu00378626    Busted Babysitters - MILF Teaches Spinner a Lesson            MG Premium Ltd.
PAu003784988   Brazzers Exxtra - Your Father Fucks Me Harder                 MG Premium Ltd.
PAu003784946   Stranded Teens - Sex Outside with Ebony Cutie                 MG Premium Ltd.
PAu003784941   Public Pickups - Tight Spinner Gags on Cock                   MG Premium Ltd.
PAu003784938   Latina Sex Tapes - Spicy Latina Loses Bet                     MG Premium Ltd.
PAu003784841   Lets Try Anal - Amateur Anal in the Morning                   MG Premium Ltd.
PAu003784816   Teens Like It Big - Shy Redheads Like It Rough                MG Premium Ltd.
PAu003784758   Stranded Teens - Teen Spinner's Phone Sex Gets Crazy          MG Premium Ltd.
PAu003784747   Real Slut Party - Euro Pool Party Goes Wild                   MG Premium Ltd.
PAu003784110   Busted Babysitters - Horny MILF Catches Big Tit Babysitter    MG Premium Ltd.
PAu003784099   Brazzers Exxtra - Spanking The Secretary                      MG Premium Ltd.
PAu003784076   Public Pickups - Eager Babe Flashes Big Natural Tits          MG Premium Ltd.
PAu003784068   Brazzers Exxtra - Just Go For It                              MG Premium Ltd.
PAu003783869   Lets Try Anal - Yoga Blonde Does Anal                         MG Premium Ltd.
PAu003783868   Brazzers Exxtra - Rough Time For A Tiny Tease                 MG Premium Ltd.
PAu00378340    Big Wet Butts - Karma's a Big Butt Bitch                      MG Premium Ltd.
PAu003783389   Latina Sex Tapes - Latina Flashes Huge Boobs                  MG Premium Ltd.
PAu003783387   Lets Try Anal - Euro Brunette's First Anal                    MG Premium Ltd.
PAu003783384   Brazzers Exxtra - A Piece of Jasmine Jae's Ass                MG Premium Ltd.
PAu003783269   Brazzers Exxtra - Brazzers Heavenly Bodies                    MG Premium Ltd.
PAu003783261   Brazzers Exxtra - Vegetable Cock Tale                         MG Premium Ltd.
PAu003783256   Brazzers Exxtra - A Reporter In The Rough                     MG Premium Ltd.
PAu003783232   Real Wife Stories - Wife Showers With The Babysitter          MG Premium Ltd.
PAu003783223   Dirty Masseur - Getting Messy With the Wifey                  MG Premium Ltd.
PAu003783158   Stranded Teens - Cute Teen Grinds On A Dick                   MG Premium Ltd.
PAu003783123   Lets Try Anal - Czech Chick's Anal Sextape                    MG Premium Ltd.
A0121                                                                                          Page 13 of 52
         Case 2:21-cv-08533-MCS-SP      Document 280 Filed 02/12/24     Page 15 of 55 Page ID
                                               #:7102



PAu003783119   Stranded Teens - Naughty Teen Banged From Behind               MG Premium Ltd.
PAu003783111   Latina Sex Tapes - Athletic Latina Has Naughty Sex             MG Premium Ltd.
PAu003783028   Mofos B Sides - She Likes it Hard                              MG Premium Ltd.
PAu003782998   Public Pickups - Tanned Honey Gets Picked Up                   MG Premium Ltd.
PAu003782946   Pornstars Like it Big - She Wants Big Cock and She Wants It    MG Premium Ltd.
               Now
PAu003782638   Lets Try Anal - Ebony Angel's First Anal Fuck                  MG Premium Ltd.
PAu003782559   Brazzers Exxtra - Return of the Stalker                        MG Premium Ltd.
PAu003782504   Pervs On Patrol - Twerking Cutie Gets Perved On                MG Premium Ltd.
PAu003782495   Pervs On Patrol - Rough Sex on a Blind Date                    MG Premium Ltd.
PAu003782489   Big Wet Butts - Ass-tonishing Big Wet Booty                    MG Premium Ltd.
PAu003782460   Public Pickups - Brunette Sucks Dick For Cash                  MG Premium Ltd.
PAu003782455   Public Pickups - Czech Hottie Sits on a Dick                   MG Premium Ltd.
PAu003782442   Doctor Adventures - Awful Doc Takes The Cock                   MG Premium Ltd.
PAu003782417   Brazzers Exxtra - Cocks For The Copper                         MG Premium Ltd.
PAu003778639   Pervs On Patrol - Hot Teen Spied on by Her Pool                MG Premium Ltd.
PAu003778632   Brazzers Exxtra - I'm Not Leaving!                             MG Premium Ltd.
PAu003777407   Lets Try Anal - Sexy Blonde's First Anal Pounding              MG Premium Ltd.
PAu003777398   Stranded Teens - Stranded Cutie Gets Fucked                    MG Premium Ltd.
PAu003777392   Latina Sex Tapes - Hot Latina Teases Boyfriend                 MG Premium Ltd.
PAu003775552   Brazzers Exxtra - Serving the Landlord's Daughter              MG Premium Ltd.
PAu003775508   Doctor Adventures - ZZ Hospital - Tiffany's First Day          MG Premium Ltd.
PAu003775190   Public Pickups - Hot Teen Gives Good Head                      MG Premium Ltd.
PAu003775173   Pervs On Patrol - Sexy Roommate Caught On Camera               MG Premium Ltd.
PAu003774879   Latina Sex Tapes - Busty Latina Titty Twerks                   MG Premium Ltd.
PAu003774851   Real Wife Stories - Wife Fucks Boss On Business Trip           MG Premium Ltd.
PAu003774765   Dirty Masseur - Rubbing Down A Horny Slut                      MG Premium Ltd.
PAu003774761   Lets Try Anal - Girlfriend's First Anal Sextape                MG Premium Ltd.
A0121                                                                                           Page 14 of 52
          Case 2:21-cv-08533-MCS-SP   Document 280 Filed 02/12/24   Page 16 of 55 Page ID
                                             #:7103



PAu003774760    ZZ Series - NEVER GET MARRIED: The Revenge                MG Premium Ltd.
PAu003774535    Brazzers Exxtra - The Slut In The Cupboard                MG Premium Ltd.
PAu003774533    Public Pickups - Classy Russian Doesn't Wear Panties      MG Premium Ltd.
PAu003773896    ZZ Series - NEVER GET MARRIED: The Threesome              MG Premium Ltd.
PAu003773847    ZZ Series - NEVER GET MARRIED: The Aftermath              MG Premium Ltd.
PAu003773843    Teens Like It Big - Shy Redheads Like It Big              MG Premium Ltd.
PAu003773831    Public Pickups - Smokin French Blonde Flashes Tits        MG Premium Ltd.
PAu003773623    Lets Try Anal - Anal Experiment Sex Tape                  MG Premium Ltd.
PAu003773606,   Brazzers Exxtra - Marsha Raises the Bar                   MG Premium Ltd.
PAu003773602    Stranded Teens - Horny Babe In Search Of Cock             MG Premium Ltd.
PAu003773592    Latina Sex Tapes - Latina In Braces Banged Deep           MG Premium Ltd.
PAu003773571    Mofos B Sides - All Natural Honey With Big Butt           MG Premium Ltd.
PAu003772575    Brazzers Exxtra - Banging The Ballerina                   MG Premium Ltd.
PAu003772574    Lets Try Anal - Bikini Blonde's Amateur Anal              MG Premium Ltd.
PAu003772542    Public Pickups - Czech Gal Gets Picked Up                 MG Premium Ltd.
PAu003772535    Doctor Adventures - Doctor Cum Control                    MG Premium Ltd.
PAu003772313    ZZ Series - NEVER GET MARRIED: The Downward Spiral        MG Premium Ltd.
PAu003772307    Pervs On Patrol - Neighbor Pervs On Hot Babe              MG Premium Ltd.
PAu003772160    Stranded Teens - Demanding Teen Fucks In Car              MG Premium Ltd.
PAu003771753    Hot And Mean - Getting Mean With Tasha's Asshole          MG Premium Ltd.
PAu003771749    Public Pickups - French Model In Pink Panties             MG Premium Ltd.
PAu003771748    Mofos B Sides - Two Chicks Take Turns Riding Cock         MG Premium Ltd.
PAu003771739    Brazzers Exxtra - When East Blows West                    MG Premium Ltd.
PAu003771650    Real Wife Stories - Trophy Wife Teases The Pool Boy       MG Premium Ltd.
PAu003771515    Lets Try Anal - Pop Star's Anal Footage                   MG Premium Ltd.
PAu00377151     Brazzers Exxtra - The Rough Shagging Shrink               MG Premium Ltd.
PAu003770942    Big Wet Butts - Fourth of July: Big Butt Independence     MG Premium Ltd.
PAu003770863    Dirty Masseur - Deep and Juicy with Miss Jensen           MG Premium Ltd.
A0121                                                                                       Page 15 of 52
         Case 2:21-cv-08533-MCS-SP       Document 280 Filed 02/12/24        Page 17 of 55 Page ID
                                                #:7104



PAu003770262   Doctor Adventures - The Resident Slut: Part Two                    MG Premium Ltd.
PAu003770252   Latina Sex Tapes - Spicy Latina Maid Gets Banged                   MG Premium Ltd.
PAu003770153   Big Tits at School - Big Tits On The Bottom Bunk                   MG Premium Ltd.
PAu003770144   Stranded Teens - Chloe's Red Lips Suck Dick                        MG Premium Ltd.
PAu003770138   Brazzers Exxtra - Tiny Chicks Take Big Hard Dick                   MG Premium Ltd.
PAu003770135   Public Pickups - Bubble Butt Blonde Public Seduction               MG Premium Ltd.
PAu003769959   Doctor Adventures - The Resident Slut: Part One                    MG Premium Ltd.
PAu003769957   ZZ Series - Brazzers House: Behind the Scenes                      MG Premium Ltd.
PAu003769951   Public Pickups - British Brunette Fucks a Tourist                  MG Premium Ltd.
PAu003769703   Lets Try Anal - Anal Sex Birthday Surprise                         MG Premium Ltd.
PAu003768715   Real Wife Stories - My Horrible Boss' Wife                         MG Premium Ltd.
PAu003768707   Public Pickups - Hot Russian Flashes Her Titties                   MG Premium Ltd.
PAu003768705   Mofos B Sides - GF Teases Dude's Dick                              MG Premium Ltd.
PAu003768704   Big Butts Like It Big - Sticking It Into Sofia's Big Juicy Cucci   MG Premium Ltd.
PAu003768310   Stranded Teens - Babe Says Thanks With A BJ                        MG Premium Ltd.
PAu003768139   Doctor Adventures - Creepy Doc Gives Her The Cock                  MG Premium Ltd.
PAu003768123   Brazzers Exxtra - Monique is a Sweet Creampie Dream                MG Premium Ltd.
PAu003768118   Public Pickups - Naughty Cutie Bangs In The Woods                  MG Premium Ltd.
PAu003767777   Lets Try Anal - Yoga Latina Post-Shower Anal                       MG Premium Ltd.
PAu003767770   Brazzers Exxtra - Time To Prove Yourself                           MG Premium Ltd.
PAu003767753   Mofos B Sides - Naughty Cowgirl Rides Dick                         MG Premium Ltd.
PAu003767621   Mofos B Sides - Workout Slut Gets Balled                           MG Premium Ltd.
PAu003767619   Public Pickups - Czech Hottie's Got Perfect Tits                   MG Premium Ltd.
PAu003767609   Lets Try Anal - Anna's Sweet Anal Surprise                         MG Premium Ltd.
PAu003767606   Baby Got Boobs - Ask Me Anything About My Big Boobs                MG Premium Ltd.
PAu003767582   Real Wife Stories - My Pudgy Husband, My Whorish Wife              MG Premium Ltd.
PAu003767549   Brazzers Exxtra - Fuck Me Earthling                                MG Premium Ltd.
PAu003767425   Stranded Teens - Chick Gets Rescued Then Fucked                    MG Premium Ltd.
A0121                                                                                               Page 16 of 52
         Case 2:21-cv-08533-MCS-SP    Document 280 Filed 02/12/24      Page 18 of 55 Page ID
                                             #:7105



PAu003767403   Big Wet Butts - Slipping Into Shay's Big Wet Ass              MG Premium Ltd.
PAu003766677   Brazzers Exxtra - ZZ Recruits: Agent Katrina                  MG Premium Ltd.
PAu003766675   Mofos B Sides - Blonde Babe Fucks Over Breakfast              MG Premium Ltd.
PAu003766671   Stranded Teens - Hitchhiking Russian Fucks for a Ride         MG Premium Ltd.
PAu003766670   Doctor Adventures - Don't Just Kiss Ass, Fuck It!             MG Premium Ltd.
PAu003766628   Stranded Teens - Horny French Amateur Car Sex                 MG Premium Ltd.
PAu003766599   Dirty Masseur - Don't Touch Her Ta-Tas                        MG Premium Ltd.
PAu003766597   Real Wife Stories - My Cop Sucking Wife                       MG Premium Ltd.
PAu003766576   Latina Sex Tapes - Latina Spinner Rides a Cock                MG Premium Ltd.
PAu003766401   Brazzers Exxtra - Peta Pays Your Cock a Visit                 MG Premium Ltd.
PAu003766202   Public Pickups - Russian Redhead Is Easily Seduced            MG Premium Ltd.
PAu003766197   Brazzers Exxtra - Kim K Fucks The Paparazzi                   MG Premium Ltd.
PAu003766126   Big Wet Butts - Big White Phat Anal Booty                     MG Premium Ltd.
PAu003765639   Brazzers Exxtra - She's On The Prowl                          MG Premium Ltd.
PAu003765636   Brazzers Exxtra - Grinding Your Muse                          MG Premium Ltd.
PAu003765626   Lets Try Anal - Read the Signs: She Wants Anal                MG Premium Ltd.
PAu003765615   Mofos B Sides - Amateurs Film Hotel Threesome                 MG Premium Ltd.
PAu003765538   Public Pickups - Russian Cutie Flashes for Cash               MG Premium Ltd.
PAu003765504   Doctor Adventures - Always Listen To Your Doctor              MG Premium Ltd.
PAu003765497   Mofos B Sides - Teen Rides her Boyfriend at Work              MG Premium Ltd.
PA0002311058   RK Prime - Winner Takes It All Up The Butt                    MG Premium Ltd.
PA0002311045   RK Prime - Big Tits And Heavy Balls                           MG Premium Ltd.
PA0002310730   RK Prime - My Roommate Wants To Take My Virginity?!           MG Premium Ltd.
PA0002310404   Brazzers Exxtra - Milking Table For Big Naturals              MG Premium Ltd.
PA0002310377   Brazzers Exxtra - Strapping On A Second Dick                  MG Premium Ltd.
PA0002310353   Brazzers Exxtra - Sneaky Pool Sex                             MG Premium Ltd.
PA0002310349   Brazzers Exxtra - Sneaky 69 Dupes Boyfriend                   MG Premium Ltd.
PA0002310347   Brazzers Exxtra - Skinny Dippin' Titties                      MG Premium Ltd.
A0121                                                                                          Page 17 of 52
         Case 2:21-cv-08533-MCS-SP     Document 280 Filed 02/12/24     Page 19 of 55 Page ID
                                              #:7106



PA0002310332   Brazzers Exxtra - Not Every Venture...                        MG Premium Ltd.
PA0002310233   RK Prime - Flasher Takes It In The Ass                        MG Premium Ltd.
PA0002310216   Brazzers Exxtra - Call Him Over                               MG Premium Ltd.
PA0002310211   Brazzers Exxtra - Big Wet Bounce                              MG Premium Ltd.
PA0002309105   Brazzers Exxtra - Ratings Up The Ass!                         MG Premium Ltd.
PA0002308349   Brazzers Exxtra - Cheater Gets the Dildo Drawer               MG Premium Ltd.
PA0002304565   Brazzers Exxtra - Fucking The Hotel Staff                     MG Premium Ltd.
PA0002304552   RK Prime - Coco Loves To Take Her Roommate's Cock             MG Premium Ltd.
PA0002304539   Brazzers Exxtra - Anal Fisting Missing Keys                   MG Premium Ltd.
PA0002304516   RK Prime - Alina Ali Gets Pounded In Public                   MG Premium Ltd.
PA0002304305   Hot And Mean - Wet And Wild Dinner Party                      MG Premium Ltd.
PA0002303680   Brazzers Exxtra - Unzip And Slip That Dick                    MG Premium Ltd.
PA0002303597   RK Prime - Her Roommate's Pussy is Better                     MG Premium Ltd.
PA0002303596   Brazzers Exxtra - Gamer Girl Threesome Action                 MG Premium Ltd.
PA0002303592   RK Prime - Gamer Girl Bangs Her Roommate                      MG Premium Ltd.
PA0002303028   Brazzers Exxtra - Running Through His Head                    MG Premium Ltd.
PA0002303001   Brazzers Exxtra - Handyman's Secret Joy                       MG Premium Ltd.
PA0002302990   Brazzers Exxtra - Blu Flames Burn Hotter                      MG Premium Ltd.
PA0002302989   Brazzers Exxtra - Ass Slap Double Pussy Tap                   MG Premium Ltd.
PA0002302903   RK Prime - Coffee Shop Cutie Gets Creamed                     MG Premium Ltd.
PA0002302886   Brazzers Exxtra - High Five For Double Penetration!           MG Premium Ltd.
PA0002302265   RK Prime - Your Stuff Or My Pussy                             MG Premium Ltd.
PA0002302247   Brazzers Exxtra - Tag Teaming The Glampers                    MG Premium Ltd.
PA0002302244   Brazzers Exxtra - Squirt, Don't Swallow                       MG Premium Ltd.
PA0002302214   Brazzers Exxtra - MILF's Got Good Threeway Game               MG Premium Ltd.
PA0002302213   Brazzers Exxtra - Look At All That Cash!                      MG Premium Ltd.
PA0002302212   Brazzers Exxtra - I Detect An Ass That Wants Training         MG Premium Ltd.
PA0002302167   RK Prime - Can You Handle the Curves?                         MG Premium Ltd.
A0121                                                                                          Page 18 of 52
         Case 2:21-cv-08533-MCS-SP   Document 280 Filed 02/12/24   Page 20 of 55 Page ID
                                            #:7107



PA0002302127   Brazzers Exxtra - Botched Doggy Door                      MG Premium Ltd.
PA0002301839   RK Prime - Teasing the Security Cam Voyeur                MG Premium Ltd.
PA0002301833   Brazzers Exxtra - Make You Cum First                      MG Premium Ltd.
PA0002301828   Brazzers Exxtra - Wedding Smashers Part 3                 MG Premium Ltd.
PA0002298938   Mofos B Sides - Giant Going-Away Gift                     MG Premium Ltd.
PA0002297166   Brazzers Exxtra - Trainer Wants To Fuck: Part 2           MG Premium Ltd.
PA0002270212   RK Prime - The Mile High Groupie Jetaway                  MG Premium Ltd.
PA0002270185   RK Prime - RK At Home: Follow Vixtor's Voice              MG Premium Ltd.
PA0002270155   RK Prime - RK At Home: Dinner For You                     MG Premium Ltd.
PA0002270153   RK Prime - RK At Home: Cum Challenge                      MG Premium Ltd.
PA0002270147   RK Prime - RK At Home: Catcalling Catalina                MG Premium Ltd.
PA0002270126   RK Prime - Hiding Him From Her Husband                    MG Premium Ltd.
PA0002270049   RK Prime - Cheating Wife's Big Tits Workout               MG Premium Ltd.
PA0002270024   RK Prime - Big Tits And Vibrator Tricks                   MG Premium Ltd.
PA0002270021   RK Prime - Cumming In My Boyfriend's Briefs               MG Premium Ltd.
PA0002270013   RK Prime - Fuck The Horniness Out Of Me!                  MG Premium Ltd.
PA0002270011   RK Prime - Hot Sex On A Ladder                            MG Premium Ltd.
PA0002269136   RK Prime - Amazing Body On Cooking Cutie                  MG Premium Ltd.
PA0002269130   RK Prime - RK At Home: Spying On Big Tiddy Roommate       MG Premium Ltd.
PA0002269121   RK Prime - Catching Lola In The Wild                      MG Premium Ltd.
PA0002269119   RK Prime - RK At Home: Fuck Me Until I Can't Think        MG Premium Ltd.
PA0002266504   RK Prime - RK At Home: CFNM Yola Squirts For You          MG Premium Ltd.
PA0002266385   RK Prime - RK At Home: Did I Do Better?                   MG Premium Ltd.
PA0002266382   RK Prime - RK At Home: Cute Hime Craves Cock              MG Premium Ltd.
PA0002264939   Brazzers Exxtra - Snowbanging: Part 3                     MG Premium Ltd.
PA0002264360   RK Prime - RK At Home: Do It For Tori                     MG Premium Ltd.
PA0002264345   RK Prime - RK At Home: Are You Worthy                     MG Premium Ltd.
PA0002264326   RK Prime - RK At Home: Trying To Work                     MG Premium Ltd.
A0121                                                                                      Page 19 of 52
         Case 2:21-cv-08533-MCS-SP    Document 280 Filed 02/12/24       Page 21 of 55 Page ID
                                             #:7108



PA0002264320   RK Prime - RK At Home: Backyard Tease                          MG Premium Ltd.
PA0002262962   Brazzers Exxtra - Ready, Aim, Anal!                            MG Premium Ltd.
PA0002262961   RK Prime - RK At Home: Siouxsie Q                              MG Premium Ltd.
PA0002262960   RK Prime - RK At Home: Endurance Run                           MG Premium Ltd.
PA0002262915   Day With A Pornstar - Day With A Pornstar: Alexis Fawx         MG Premium Ltd.
PA0002262870   RK Prime - RK At Home: Ariana Simon                            MG Premium Ltd.
PA0002260857   Lil Humpers - The Humper And The Humpette                      MG Premium Ltd.
PA0002260634   RK Prime - RK At Home: Tiny Danika Stretched By Huge           MG Premium Ltd.
               Dick
PA0002260633   RK Prime - RK At Home: Fuck Me, Forgive Me                     MG Premium Ltd.
PA0002260631   Big Naturals - RK At Home: Caught Chloe Being Kinky            MG Premium Ltd.
PA0002260630   RK Prime - RK At Home: Alt Girl Telari Shows It All            MG Premium Ltd.
PA0002260624   Captain Stabbin - Keira Craves The Captain's Cock              MG Premium Ltd.
PA0002260619   RK Prime - Getting Nasty with the Nurse                        MG Premium Ltd.
PA0002259484   Public Pickups - Sucking And Fucking A Kind Stranger           MG Premium Ltd.
PA0002259464   Mofos B Sides - Slutty Striptease In Stockings                 MG Premium Ltd.
PA0002259461   Stranded Teens - Where's That Cheating Little Slut?            MG Premium Ltd.
PA0002259242   Public Pickups - Sucking Dick For A Sugar Daddy                MG Premium Ltd.
PA0002259239   Stranded Teens - Save Me, Then Pound My Pussy                  MG Premium Ltd.
PA0002259236   Lets Try Anal - Horny And Open To Anal                         MG Premium Ltd.
PA0002258966   Brazzers Exxtra - Aerial Downward Doggystyle                   MG Premium Ltd.
PA0002258717   Brazzers Exxtra - Surprise Bathtub Banging                     MG Premium Ltd.
PA0002258703   Brazzers Exxtra - School Of Hard Knockers                      MG Premium Ltd.
PA0002258502   Brazzers Exxtra - The Naked Wife                               MG Premium Ltd.
PA0002258472   Brazzers Exxtra - Anal Prescription Pickup                     MG Premium Ltd.
PA0002258471   Brazzers Exxtra - Best Of Brazzers: Porn Watches Back          MG Premium Ltd.
PA0002258342   RK Prime - Hungry for the Sweet Thing                          MG Premium Ltd.
PA0002258256   RK Prime - RK At Home: Posh Princess Craves Cock               MG Premium Ltd.
A0121                                                                                           Page 20 of 52
         Case 2:21-cv-08533-MCS-SP     Document 280 Filed 02/12/24     Page 22 of 55 Page ID
                                              #:7109



PA0002258009   Captain Stabbin - Episode 7: The Dark Middle Chapter          MG Premium Ltd.
PA0002257752   RK Prime - Banged by the Brand New Tool                       MG Premium Ltd.
PA0002257749   RK Prime - RK At Home: Avery's Fake Fight                     MG Premium Ltd.
PA0002257641   RK Prime - RK At Home: Kaisa's Teasing Sloppy Dildo Play      MG Premium Ltd.
PA0002257636   RK Prime - RK At Home: Codi's Crafty Corner                   MG Premium Ltd.
PA0002257131   Brazzers Exxtra - Best Of Brazzers: Nurse Appreciation Day    MG Premium Ltd.
PA0002257124   Brazzers Exxtra - Best Of Brazzers: Sneakiest Moments         MG Premium Ltd.
PA0002254706   RK Prime - Surprised by the Big Package                       MG Premium Ltd.
PA0002254521   RK Prime - Face-To-Face: Emily & Jane                         MG Premium Ltd.
PA0002254517   RK Prime - Angela White vs Rob Piper                          MG Premium Ltd.
PA0002253219   Brazzers Exxtra - His Hands Are Tied                          MG Premium Ltd.
PA0002253216   Stranded Teens - Fucking Stepdad For A Ride                   MG Premium Ltd.
PA0002253196   Lets Try Anal - Come In For Some Tea and Anal                 MG Premium Ltd.
PA0002253003   Brazzers Exxtra - Bodacious Bikini Threesome                  MG Premium Ltd.
PA0002252897   Brazzers Exxtra - Maid For A Threesome                        MG Premium Ltd.
PA0002252887   Brazzers Exxtra - Best Of Brazzers: Sharing Stepsiblings      MG Premium Ltd.
PA0002252684   Brazzers Exxtra - Soaking Wet And Fully Satisfied             MG Premium Ltd.
PA0002252406   Brazzers Exxtra - Rough And Raunchy Group Fuck                MG Premium Ltd.
PA0002252189   Brazzers Exxtra - Best Of Brazzers: Peta Jensen               MG Premium Ltd.
PA0002252181   Brazzers Exxtra - Best Of Brazzers: Ava Addams                MG Premium Ltd.
PA0002252179   Brazzers Exxtra - Best Of Brazzers: Anal Extravaganza         MG Premium Ltd.
PA0002252176   Brazzers Exxtra - Best Of Brazzers: Hottest Bosses            MG Premium Ltd.
PA0002251889   RK Prime - Cecilia Lion Vs Ricky Johnson                      MG Premium Ltd.
PA0002251122   RK Prime - A Goddess on her Own Terms                         MG Premium Ltd.
PA0002251121   RK Prime - Splish Splash Anal Oil Bath                        MG Premium Ltd.
PA0002249816   Brazzers Exxtra - Jumping For Jizz                            MG Premium Ltd.
PA0002249814   Brazzers Exxtra - Best Of Brazzers: Meanest Lesbians          MG Premium Ltd.
PA0002249809   Brazzers Exxtra - Best Of Brazzers: Squirt Fest               MG Premium Ltd.
A0121                                                                                          Page 21 of 52
         Case 2:21-cv-08533-MCS-SP   Document 280 Filed 02/12/24      Page 23 of 55 Page ID
                                            #:7110



PA0002249806   Brazzers Exxtra - A Mistress For All Seasons                 MG Premium Ltd.
PA0002249800   Brazzers Exxtra - Anal Double Dip                            MG Premium Ltd.
PA0002249798   Brazzers Exxtra - Best Of Brazzers: Madison Ivy              MG Premium Ltd.
PA0002249795   Brazzers Exxtra - The Threesome Tutorial                     MG Premium Ltd.
PA0002249791   Brazzers Exxtra - Who Owns Whom                              MG Premium Ltd.
PA0002249790   Brazzers Exxtra - Group Pers-Anal Training                   MG Premium Ltd.
PA0002249789   Brazzers Exxtra - Best Of Brazzers: Titty Tuesday            MG Premium Ltd.
PA0002249776   Doctor Adventures - Use It Or Lose It                        MG Premium Ltd.
PA0002249774   Brazzers Exxtra - Look At Luna                               MG Premium Ltd.
PA0002249376   RK Prime - Paige Owes Me A Shower                            MG Premium Ltd.
PA0002249372   Lil Humpers - Lil Lawn Gnome                                 MG Premium Ltd.
PA0002249361   Sneaky Sex - I Fucked Your Boyfriend To Make You Mad         MG Premium Ltd.
PA0002249360   Dirty Masseur - How To Fuck Your Masseur                     MG Premium Ltd.
PA0002248977   Brazzers Exxtra - Revel In A Blue Dress                      MG Premium Ltd.
PA0002247968   Brazzers Exxtra - Red Light Romp                             MG Premium Ltd.
PA0002247960   Brazzers Exxtra - Sneaky Shower Threesome                    MG Premium Ltd.
PA0002247957   Brazzers Exxtra - All Dolled Up: Anal Edition                MG Premium Ltd.
PA0002247954   Hot And Mean - A Hot And Mean Proposition                    MG Premium Ltd.
PA0002247657   Brazzers Exxtra - The Malcontent Mistress: Part 2            MG Premium Ltd.
PA0002247364   Brazzers Exxtra - Clitical Check Up                          MG Premium Ltd.
PA0002246726   Brazzers Exxtra - Pay To Lay                                 MG Premium Ltd.
PA0002246309   Brazzers Exxtra - Don't Back Out On Me Now                   MG Premium Ltd.
PA0002245751   Brazzers Exxtra - Hopping On A Cock                          MG Premium Ltd.
PA0002245365   Lil Humpers - Geeky Lil Bastard                              MG Premium Ltd.
PA0002245363   Sneaky Sex - If You're Cheating, So Am I                     MG Premium Ltd.
PA0002245299   RK Prime - Kendra And Carmen Take Cali                       MG Premium Ltd.
PA0002244986   Brazzers Exxtra - The Guru Of Gape                           MG Premium Ltd.
PA0002244939   Brazzers Exxtra - Price To Pay                               MG Premium Ltd.
A0121                                                                                         Page 22 of 52
         Case 2:21-cv-08533-MCS-SP     Document 280 Filed 02/12/24    Page 24 of 55 Page ID
                                              #:7111



PA0002244935   Brazzers Exxtra - Pocket Pussy Anal                          MG Premium Ltd.
PA0002244921   Brazzers Exxtra - Getting Fucked On My Side                  MG Premium Ltd.
PA0002244920   Brazzers Exxtra - Getting An Eyeful                          MG Premium Ltd.
PA0002244903   Brazzers Exxtra - Eye Of The Cuckold                         MG Premium Ltd.
PA0002244878   Brazzers Exxtra - Day With A Porn Writer                     MG Premium Ltd.
PA0002243891   Brazzers Exxtra - One Sneaky Stripper                        MG Premium Ltd.
PA0002243890   Brazzers Exxtra - A Room With A Cock                         MG Premium Ltd.
PA0002243887   Day With A Pornstar - Day With A Pornstar: Victoria June     MG Premium Ltd.
PA0002243883   Brazzers Exxtra - Saturday Night Beaver                      MG Premium Ltd.
PA0002243881   Brazzers Exxtra - Special Assistant To Ms. Kapri             MG Premium Ltd.
PA0002243877   Brazzers Exxtra - I Hate You, Let's Fuck                     MG Premium Ltd.
PA0002243864   Brazzers Exxtra - Pounding Payton's Pussy                    MG Premium Ltd.
PA0002243131   Share My BF - Roommate Thief Shares BF                       MG Premium Ltd.
PA0002243064   Brazzers Exxtra - Hide The Pickle                            MG Premium Ltd.
PA0002243061   Brazzers Exxtra - Diva For A Day                             MG Premium Ltd.
PA0002242972   Stranded Teens - Hottie Has Nowhere To Go                    MG Premium Ltd.
PA0002242832   Share My BF - Prepping My Hot BF                             MG Premium Ltd.
PA0002242693   Public Pickups - Car Loving Hottie Horny For Cock            MG Premium Ltd.
PA0002242078   Sneaky Sex - Turning Her Off And On Again                    MG Premium Ltd.
PA0002241546   Brazzers Exxtra - Anal About Chores                          MG Premium Ltd.
PA0002241443   Brazzers Exxtra - Facial By Surprise                         MG Premium Ltd.
PA0002241414   Brazzers Exxtra - Wrong Side Of The Bed                      MG Premium Ltd.
PA0002241408   Brazzers Exxtra - Dicking The Dutiful Wife                   MG Premium Ltd.
PA0002241375   Brazzers Exxtra - I Thought You Hated Yoga                   MG Premium Ltd.
PA0002241373   Brazzers Exxtra - Fuck From Experience                       MG Premium Ltd.
PA0002241002   Big Naturals - Big Titty Barista                             MG Premium Ltd.
PA0002240404   Brazzers Exxtra - The Husband Trap                           MG Premium Ltd.
PA0002240399   Day With A Pornstar - Day With A Pornstar: Desiree Dulce     MG Premium Ltd.
A0121                                                                                         Page 23 of 52
         Case 2:21-cv-08533-MCS-SP     Document 280 Filed 02/12/24     Page 25 of 55 Page ID
                                              #:7112



PA0002240353   Brazzers Exxtra - Where's Your Ring? Part 3                   MG Premium Ltd.
PA0002240351   Brazzers Exxtra - Where's Your Ring? Part 2                   MG Premium Ltd.
PA0002240326   Brazzers Exxtra - Grinding A Gamer                            MG Premium Ltd.
PA0002240320   Day With A Pornstar - Day With A Porn Star: Monique           MG Premium Ltd.
               Alexander
PA0002238817   Lil Humpers - A Lil Fan Service                               MG Premium Ltd.
PA0002238697   Real Wife Stories - You Gotta Help My Wife!                   MG Premium Ltd.
PA0002238695   Brazzers Exxtra - Are You Getting Off?                        MG Premium Ltd.
PA0002238691   Brazzers Exxtra - Blonde Domme-Ination                        MG Premium Ltd.
PA0002238689   Day With A Pornstar - Day With A Pornstar: Nicolette Shea     MG Premium Ltd.
PA0002238551   Brazzers Exxtra - The Gift Of Cock                            MG Premium Ltd.
PA0002238035   Brazzers Exxtra - Amber In The Hills: Part 2                  MG Premium Ltd.
PA0002238028   RK Prime - Taking Him For All He's Worth                      MG Premium Ltd.
PA0002237750   Brazzers Exxtra - Love Is Blindfolded                         MG Premium Ltd.
PA0002237741   Brazzers Exxtra - Go With The Flow                            MG Premium Ltd.
PA0002237740   Brazzers Exxtra - Early Morning Anal                          MG Premium Ltd.
PA0002237734   Day With A Pornstar - Day With A Pornstar: Katrina Jade       MG Premium Ltd.
PA0002237699   Brazzers Exxtra - Amber In The Hills: Part 3                  MG Premium Ltd.
PA0002237358   Sneaky Sex - Sneaky Lesbian Workout                           MG Premium Ltd.
PA0002237356   Big Naturals - Big Tit Testing                                MG Premium Ltd.
PA0002237354   RK Prime - May The Best Girl Win                              MG Premium Ltd.
PA0002236940   Brazzers Exxtra - Our Not-So-Timid Tenant                     MG Premium Ltd.
PA0002236922   Brazzers Exxtra - Porn Logic 3                                MG Premium Ltd.
PA0002236815   Brazzers Exxtra - Dripping In Jewelz                          MG Premium Ltd.
PA0002236805   Brazzers Exxtra - Ramming The Raver                           MG Premium Ltd.
PA0002236792   Brazzers Exxtra - Man(nequin) Up And Fuck                     MG Premium Ltd.
PA0002236773   Moms in control - A Lesson In Footplay                        MG Premium Ltd.
PA0002236725   Brazzers Exxtra - The Trip: Part 2                            MG Premium Ltd.
A0121                                                                                          Page 24 of 52
         Case 2:21-cv-08533-MCS-SP     Document 280 Filed 02/12/24    Page 26 of 55 Page ID
                                              #:7113



PA0002236402   Brazzers Exxtra - The Trip: Part 1                           MG Premium Ltd.
PA0002236167   Brazzers Exxtra - Sibling Rivalry 4                          MG Premium Ltd.
PA0002236132   Brazzers Exxtra - In The Pink                                MG Premium Ltd.
PA0002236048   Day With A Pornstar - Day With A Pornstar: Gina Valentina    MG Premium Ltd.
PA0002236038   Brazzers Exxtra - Balled-Room Dancing                        MG Premium Ltd.
PA0002236031   Brazzers Exxtra - Five-Star Dick                             MG Premium Ltd.
PA0002236025   Brazzers Exxtra - Big Tits Save Lives                        MG Premium Ltd.
PA0002235887   Brazzers Exxtra - An Eyeful Of Emma                          MG Premium Ltd.
PA0002235774   Brazzers Exxtra - Trading Up Times Two                       MG Premium Ltd.
PA0002235772   Mommy Got Boobs - Mom's Got New Boobs!                       MG Premium Ltd.
PA0002235771   Brazzers Exxtra - Sexy As Sin                                MG Premium Ltd.
PA0002235767   Brazzers Exxtra - The Dommes Next Door: Double Dommed        MG Premium Ltd.
PA0002235765   Brazzers Exxtra - The Businesswoman's Special                MG Premium Ltd.
PA0002235328   RK Prime - It Was The Fucking Realtor                        MG Premium Ltd.
PA0002234855   Stranded Teens - We All Scream For Ice Cream                 MG Premium Ltd.
PA0002234762   Big Naturals - Big Natural Treats                            MG Premium Ltd.
PA0002234143   Brazzers Exxtra - My Girlfriend's Girlfriend                 MG Premium Ltd.
PA0002234087   Lil Humpers - The Naughtiest Lil Elf                         MG Premium Ltd.
PA0002234059   Brazzers Exxtra - Cock And Frisk                             MG Premium Ltd.
PA0002234057   Brazzers Exxtra - Brook's Erotic Escape                      MG Premium Ltd.
PA0002234052   Brazzers Exxtra - Bianca's Bangin' Bod                       MG Premium Ltd.
PA0002233826   RK Prime - Petite Jessica Meets The Kings                    MG Premium Ltd.
PA0002232982   Sneaky Sex - Tied Up For The Holidays                        MG Premium Ltd.
PA0002232975   Round and Brown - Step and Repeat Offender                   MG Premium Ltd.
PA0002232960   Brazzers Exxtra - Trippy Hula Hippie                         MG Premium Ltd.
PA0002231704   RK Prime - Giving Him A Hard Time                            MG Premium Ltd.
PA0002231100   Brazzers Exxtra - Load Size: Jordi's Max                     MG Premium Ltd.
PA0002231098   Brazzers Exxtra - Lessons From the Champ                     MG Premium Ltd.
A0121                                                                                         Page 25 of 52
         Case 2:21-cv-08533-MCS-SP      Document 280 Filed 02/12/24   Page 27 of 55 Page ID
                                               #:7114



PA0002230185   Lil Humpers - Dr. Jordi, Lil MD                              MG Premium Ltd.
PA0002230181   Lil Humpers - Don't Mind Him                                 MG Premium Ltd.
PA0002230177   Lil Humpers - The Lil Freak Under the Sheets                 MG Premium Ltd.
PA0002228969   Big Naturals - Registered Nurse Naturals                     MG Premium Ltd.
PA0002228436   Brazzers Exxtra - Stretch That Ass Out                       MG Premium Ltd.
PA0002228433   Brazzers Exxtra - I'll Show You How                          MG Premium Ltd.
PA0002228430   Brazzers Exxtra - Boned By The Butler: Part 1                MG Premium Ltd.
PA0002228400   Pervs On Patrol - Spying On Dat Ass                          MG Premium Ltd.
PA0002227463   Sneaky Sex - Bound To Be A Happy Birthday                    MG Premium Ltd.
PA0002227388   Sneaky Sex - Would You Like A Taste?                         MG Premium Ltd.
PA0002227385   Brazzers Exxtra - Sex With My Ex                             MG Premium Ltd.
PA0002227365   Brazzers Exxtra - The ZZ Tanning Salon                       MG Premium Ltd.
PA0002227362   Brazzers Exxtra - Cucking The Coach                          MG Premium Ltd.
PA0002227172   Brazzers Exxtra - Feels Good To Be Bad                       MG Premium Ltd.
PA0002227171   Brazzers Exxtra - Cross-Training For Cock                    MG Premium Ltd.
PA0002227168   Brazzers Exxtra - MILF Witches: Part 2                       MG Premium Ltd.
PA0002227162   Milfs Like it Big - MILFs Like It BBC                        MG Premium Ltd.
PA0002227118   RK Prime - Have Your Cake And Eat It Too                     MG Premium Ltd.
PA0002227057   Brazzers Exxtra - Banged Behind Bars                         MG Premium Ltd.
PA0002227053   Brazzers Exxtra - Anissa From All Angles                     MG Premium Ltd.
PA0002226961   Brazzers Exxtra - The Maid's Dirty Secret                    MG Premium Ltd.
PA0002226945   Pervs On Patrol - Perving On His Sister                      MG Premium Ltd.
PA0002226917   Share My BF - Fight Over My Cock                             MG Premium Ltd.
PA0002226914   Brazzers Exxtra - Creeping In Her Crypt                      MG Premium Ltd.
PA0002226879   Brazzers Exxtra - Getting Her Fill                           MG Premium Ltd.
PA0002226871   Brazzers Exxtra - You Don't Need A Cock: Part 2              MG Premium Ltd.
PA0002226577   Brazzers Exxtra - Mary Jean's Balloons                       MG Premium Ltd.
PA0002226570   Sneaky Sex - It's Your Turn to Drive the Sitter Home         MG Premium Ltd.
A0121                                                                                         Page 26 of 52
         Case 2:21-cv-08533-MCS-SP     Document 280 Filed 02/12/24    Page 28 of 55 Page ID
                                              #:7115



PA0002226566   Brazzers Exxtra - I'll Fuck Who I Want!                      MG Premium Ltd.
PA0002226547   Brazzers Exxtra - Disciplining Their Sugar Daddy             MG Premium Ltd.
PA0002226124   Big Naturals - Seven Minutes IN Titty Heaven                 MG Premium Ltd.
PA0002222512   Brazzers Exxtra - Strike A Pose                              MG Premium Ltd.
PA0002222484   Brazzers Exxtra - Stroking The Guard's Post                  MG Premium Ltd.
PA0002222483   Brazzers Exxtra - Prime Suspect Pounding                     MG Premium Ltd.
PA0002222327   Brazzers Exxtra - Party For One                              MG Premium Ltd.
PA0002222321   Share My BF - My BFs Cheating Boyfriend                      MG Premium Ltd.
PA0002222315   Brazzers Exxtra - Let's All Fuck In The Lobby                MG Premium Ltd.
PA0002222260   Brazzers Exxtra - Dirty Double Dare                          MG Premium Ltd.
PA0002222259   Brazzers Exxtra - Demi Works Out A Cock                      MG Premium Ltd.
PA0002221862   Sneaky Sex - Catch Me If You Cam                             MG Premium Ltd.
PA0002202503   Brazzers Exxtra - Caught Up In Abella                        MG Premium Ltd.
PA0002202493   Brazzers Exxtra - Bad To The Granny Bone                     MG Premium Ltd.
PA0002202280   Brazzers Exxtra - She's Not What She Seems: Part 2           MG Premium Ltd.
PA0002202270   Brazzers Exxtra - Katana Works It                            MG Premium Ltd.
PA0002202266   Stranded Teens - Helping Out A Latina In Need                MG Premium Ltd.
PA0002202003   Brazzers Exxtra - She'll Steele Your Heart                   MG Premium Ltd.
PA0002201862   Public Pickups - For The Love of Lindsey                     MG Premium Ltd.
PA0002200760   Public Pickups - Cold Outside Smoking Hot Indoors            MG Premium Ltd.
PA0002200747   Brazzers Exxtra - A Family Affair: The Reunion Part 3        MG Premium Ltd.
PA0002200370   Big Naturals - Hottest Yoga Youll Ever See                   MG Premium Ltd.
PA0002200335   Public Pickups - Beautiful Day In The Fucking Neighborhood   MG Premium Ltd.
PA0002199823   Brazzers Exxtra - Tits Out And Toned                         MG Premium Ltd.
PA0002199814   Brazzers Exxtra - I Thought I Was The Criminal               MG Premium Ltd.
PA0002199811   Brazzers Exxtra - A Family Affair: The Reunion Part 2        MG Premium Ltd.
PA0002199329   Brazzers Exxtra - V Is For Vigilante                         MG Premium Ltd.
PA0002199289   Dirty Masseur - The Massage She Really Wants                 MG Premium Ltd.
A0121                                                                                         Page 27 of 52
         Case 2:21-cv-08533-MCS-SP     Document 280 Filed 02/12/24     Page 29 of 55 Page ID
                                              #:7116



PA0002198938   Brazzers Exxtra - Hosed Up, Ho's Down                         MG Premium Ltd.
PA0002198348   Milf Hunter - Surveying The Milf                              MG Premium Ltd.
PA0002198347   RK Prime - My Stepdaughter The Cam Girl                       MG Premium Ltd.
PA0002198345   RK Prime - Working Out With The Foxx                          MG Premium Ltd.
PA0002198344   Monster Curves - Light Night Curves                           MG Premium Ltd.
PA0002197058   Brazzers Exxtra - Happy Masturbation Month!                   MG Premium Ltd.
PA0002196807   Sneaky Sex - Dont Let My Dad Hear Us Banging                  MG Premium Ltd.
PA0002196770   Brazzers Exxtra - Hooked On Her Booty                         MG Premium Ltd.
PA0002196757   Brazzers Exxtra - A Family Affair: The Reunion Part 1         MG Premium Ltd.
PA0002196121   Brazzers Exxtra - I Don't Know Her                            MG Premium Ltd.
PA0002196086   Brazzers Exxtra - The Getaway: Part 2                         MG Premium Ltd.
PA0002196074   Brazzers Exxtra - This Could Be The End                       MG Premium Ltd.
PA0002194574   Mommy Got Boobs - Bet You Can't Touch Her Boobs!              MG Premium Ltd.
PA0002182551   Brazzers Exxtra - Lounging For Sex                            MG Premium Ltd.
PA0002182546   Public Pickups - Lessons In Public Pickups                    MG Premium Ltd.
PA0002173145   Big Naturals - Big Titty Bed Creep                            MG Premium Ltd.
PA0002173141   Milf Hunter - Friendly Neighborly Milf                        MG Premium Ltd.
PA0002172737   RK Prime - Club Cougar Joins The Party                        MG Premium Ltd.
PA0002172714   Brazzers Exxtra - All That Glitters Is Lela                   MG Premium Ltd.
PA0002172705   Pervs On Patrol - Peeping On A VR Thief                       MG Premium Ltd.
PA0002171537   Big Naturals - Thicker The Berry Sweeter The Juice            MG Premium Ltd.
PA0002171523   RK Prime - Her Ex Fucks Her The Best                          MG Premium Ltd.
PA0002171492   Sneaky Sex - My Mechanic Fucked My Wife                       MG Premium Ltd.
PA0002171486   Milf Hunter - What Is In Your Luggage                         MG Premium Ltd.
PA0002171119   Big Tits at Work - Wild Women at Work                         MG Premium Ltd.
PA0002171108   Brazzers Exxtra - Sneaking In The Back Door                   MG Premium Ltd.
PA0002170830   Lets Try Anal - Brazilian Beauty Tries Anal                   MG Premium Ltd.
PA0002170824   Brazzers Exxtra - Cock Blocked By Mom                         MG Premium Ltd.
A0121                                                                                          Page 28 of 52
         Case 2:21-cv-08533-MCS-SP     Document 280 Filed 02/12/24    Page 30 of 55 Page ID
                                              #:7117



PA0002170814   Mofos B Sides - Pamela Makes A Sex Tape                      MG Premium Ltd.
PA0002170707   Brazzers Exxtra - ZZ Improv: Sex, And...                     MG Premium Ltd.
PA0002146301   Big Naturals - Big Natural Nip Slips                         MG Premium Ltd.
PA0002145989   Brazzers Exxtra - The Mystique Of Madison                    MG Premium Ltd.
PA0002145874   Brazzers Exxtra - Say Hello to Her Little Friend             MG Premium Ltd.
PA0002144467   Brazzers Exxtra - Caught Talking Dirty                       MG Premium Ltd.
PA0002144461   Brazzers Exxtra - Fuck Me By The Fire                        MG Premium Ltd.
PA0002144459   Brazzers Exxtra - The Ass On Canela                          MG Premium Ltd.
PA0002144455   Brazzers Exxtra - Lexi Gets Drenched                         MG Premium Ltd.
PA0002144451   Mommy Got Boobs - Mommy Always Says Yes                      MG Premium Ltd.
PA0002144341   Pornstars Like it Big - Pornstars Are Just Like Us!          MG Premium Ltd.
PA0002144326   Dirty Masseur - Emma Gets All Oiled Up                       MG Premium Ltd.
PA0002144321   Brazzers Exxtra - Black Friday Fuckfest                      MG Premium Ltd.
PA0002144193   Brazzers Exxtra - Sandy Siren Of The Skies                   MG Premium Ltd.
PA0002144094   Brazzers Exxtra - What A Maid Wants                          MG Premium Ltd.
PA0002143970   Milf Hunter - When Lisa Ann Cums Over                        MG Premium Ltd.
PA0002143728   Big Naturals - Big Tiddy Goth Gf                             MG Premium Ltd.
PA0002143472   Moms Lick Teens - Learning To Lounge And Lick                MG Premium Ltd.
PA0002143366   Brazzers Exxtra - Bench Press My Biddy                       MG Premium Ltd.
PA0002143356   Brazzers Exxtra - Dildos In The Drain Pipe                   MG Premium Ltd.
PA0002143187   Stranded Teens - Stranded In My Feelings                     MG Premium Ltd.
PA0002143184   Brazzers Exxtra - Sex With The Scarecrow                     MG Premium Ltd.
PA0002143144   Brazzers Exxtra - Visiting Hour Plower                       MG Premium Ltd.
PA0002143129   Sneaky Sex - You Snooze You Lose Too                         MG Premium Ltd.
PA0002143116   RK Prime - Shake Those Hips N Tits                           MG Premium Ltd.
PA0002143114   Mike's Apartment - She Drives A Hard Bargain                 MG Premium Ltd.
PA0002143109   Mike's Apartment - Party Girl Wants A Fucking Fiesta         MG Premium Ltd.
PA0002143107   Milf Hunter - Pool Hall Milf                                 MG Premium Ltd.
A0121                                                                                         Page 29 of 52
         Case 2:21-cv-08533-MCS-SP      Document 280 Filed 02/12/24     Page 31 of 55 Page ID
                                               #:7118



PA0002142839   Girls Gone Pink - Girls Gone POV                               MG Premium Ltd.
PA0002142529   Pure 18 - Geek Girl Gets It Rough                              MG Premium Ltd.
PA0002142484   Mofos B Sides - Kawaii In The Streets, Senpai In The Sheets    MG Premium Ltd.
PA0002140090   Sneaky Sex - Searching For A Selfie Slut                       MG Premium Ltd.
PA0002140054   RK Prime - One Hell Of A Pounding                              MG Premium Ltd.
PA0002139908   RK Prime - From Behind Behind The Scenes                       MG Premium Ltd.
PA0002139905   Big Naturals - Big Tits On Britt                               MG Premium Ltd.
PA0002139337   Big Naturals - Big Titted Bubble Bath                          MG Premium Ltd.
PA0002138427   RK Prime - A Public Display Of Indecency                       MG Premium Ltd.
PA0002137955   RK Prime - Ready Player Cum Xxx Parody                         MG Premium Ltd.
PA0002137725   RK Prime - Your Day With Kimmy Granger                         MG Premium Ltd.
PA0002129718   RK Prime - Bone On The Fourth Of July                          MG Premium Ltd.
PA0002129070   RK Prime - Pussy Hunting At The Beach                          MG Premium Ltd.
PA0002129038   MOFOS Lab - Rich Couple's BDSM Fetish                          MG Premium Ltd.
PA0002128515   Brazzers Exxtra - Dripping The Ball                            MG Premium Ltd.
PA0002128382   Brazzers Exxtra - The Mad Dr. Deville                          MG Premium Ltd.
PA0002128117   Milf Hunter - My Neighbor Is A Squirting Nympho                MG Premium Ltd.
PA0002127192   Stranded Teens - Hideaway Sex to Avoid the Ex                  MG Premium Ltd.
PA0002126835   Mommy Got Boobs - Mommy's Got Some Bazookas                    MG Premium Ltd.
PA0002126833   Brazzers Exxtra - ZZ Motel: Dicking The Drifter                MG Premium Ltd.
PA0002126812   MOFOS Lab - Cheating Wife Gets Punished                        MG Premium Ltd.
PA0002126796   Dare Dorm - Dorm Birthday Surprise Party                       MG Premium Ltd.
PA0002126787   Stranded Teens - Side Of The Road Slut                         MG Premium Ltd.
PA0002126785   Public Pickups - Fucking The New Girl In Town                  MG Premium Ltd.
PA0002126564   Mofos B Sides - Ebony Chick Gets A Sneaky Dick                 MG Premium Ltd.
PA0002126557   Brazzers Exxtra - Lela Pays Her Dues                           MG Premium Ltd.
PA0002126553   Brazzers Exxtra - Making A Mess On The Maid                    MG Premium Ltd.
PA0002126542   Brazzers Exxtra - Fix Your Fucking Marriage                    MG Premium Ltd.
A0121                                                                                           Page 30 of 52
         Case 2:21-cv-08533-MCS-SP     Document 280 Filed 02/12/24     Page 32 of 55 Page ID
                                              #:7119



PA0002126362   Brazzers Exxtra - Wedding Planning Pt. 2                      MG Premium Ltd.
PA0002126357   Brazzers Exxtra - Wedding Planning Pt. 1                      MG Premium Ltd.
PA0002126328   Pervs On Patrol - The Icing on the Cock                       MG Premium Ltd.
PA0002126262   Brazzers Exxtra - Mrs. Shea's Room Service                    MG Premium Ltd.
PA0002125454   Big Wet Butts - Big Wet Bridal Butt                           MG Premium Ltd.
PA0002125452   Big Tits at Work - Foot Clerk At Work                         MG Premium Ltd.
PA0002125451   Brazzers Exxtra - Brandi's Boot Camp                          MG Premium Ltd.
PA0002122304   Mofos B Sides - Tanned And Stretched Out                      MG Premium Ltd.
PA0002122288   Public Pickups - Italian Blonde Loves Public Sex              MG Premium Ltd.
PA0002122206   Real Wife Stories - Showering His Wife With Attention         MG Premium Ltd.
PA0002122131   Brazzers Exxtra - Fucking Her Uncanny Valley                  MG Premium Ltd.
PA0002121522   Brazzers Exxtra - Nailing Like It's On Sale                   MG Premium Ltd.
PA0002121473   MOFOS Lab - Alina's Acro-Yoga Sex                             MG Premium Ltd.
PA0002121466   Dirty Masseur - A Treat For Her Feet                          MG Premium Ltd.
PA0002120223   Public Pickups - Teen Gives Ass For Cash                      MG Premium Ltd.
PA0002120216   Brazzers Exxtra - Tell Me When It's Over!                     MG Premium Ltd.
PA0002119898   Brazzers Exxtra - Cucked For Historical Accuracy              MG Premium Ltd.
PA0002119892   Sneaky Sex - Sneaky Piano Slut                                MG Premium Ltd.
PA0002119875   Public Pickups - Brunette Babeâ€™s Public Fuck                MG Premium Ltd.
PA0002119405   Stranded Teens - Whisking Abella Away From Danger             MG Premium Ltd.
PA0002119400   Public Pickups - Wannabe Dancer Fucked In Public              MG Premium Ltd.
PA0002119393   Brazzers Exxtra - Up and Cummer                               MG Premium Ltd.
PA0002119390   Brazzers Exxtra - 1 800 Phone Sex: Line 12                    MG Premium Ltd.
PA0002119347   Mofos B Sides - MILF Thinks Sheâ€™s Sneaky                    MG Premium Ltd.
PA0002118986   Brazzers Exxtra - Bloodthirsty Biker Babes: Part 3            MG Premium Ltd.
PA0002118970   Brazzers Exxtra - 1 800 Phone Sex: Line 9                     MG Premium Ltd.
PA0002118967   Brazzers Exxtra - 1 800 Phone Sex: Line 11                    MG Premium Ltd.
PA0002118965   Brazzers Exxtra - 1 800 Phone Sex: Line 10                    MG Premium Ltd.
A0121                                                                                          Page 31 of 52
         Case 2:21-cv-08533-MCS-SP     Document 280 Filed 02/12/24      Page 33 of 55 Page ID
                                              #:7120



PA0002118494   MOFOS Lab - Welcome to My Dungeon                              MG Premium Ltd.
PA0002118481   Brazzers Exxtra - Lined Up And Laid Out                        MG Premium Ltd.
PA0002118475   Brazzers Exxtra - Fuck the Bourgeois                           MG Premium Ltd.
PA0002118449   Brazzers Exxtra - You've Changed Part 2                        MG Premium Ltd.
PA0002118087   RK Prime - A Squirt In The Streets                             MG Premium Ltd.
PA0002117433   Brazzers Exxtra - String Me Along                              MG Premium Ltd.
PA0002117422   Brazzers Exxtra - Something Borrowed Something Blew            MG Premium Ltd.
PA0002117412   Stranded Teens - Smokin' Hot Charity on a Rooftop              MG Premium Ltd.
PA0002117404   Brazzers Exxtra - Sacrifice My Ass                             MG Premium Ltd.
PA0002117392   Mike's Apartment - Paola Gets More Than A Tour                 MG Premium Ltd.
PA0002117365   GF Revenge - Miranda And Kirby Love Sucking                    MG Premium Ltd.
PA0002117346   Milf Hunter - Milf Railed At The Station                       MG Premium Ltd.
PA0002117330   Mofos B Sides - Living Room Suck & Fuck                        MG Premium Ltd.
PA0002117323   Brazzers Exxtra - I Like To Be Natural                         MG Premium Ltd.
PA0002117269   Big Naturals - Big Boob Problems                               MG Premium Ltd.
PA0002115925   Brazzers Exxtra - Tight As Tape                                MG Premium Ltd.
PA0002115780   MOFOS Lab - Athena's Risque Photoshoot                         MG Premium Ltd.
PA0002115776   Brazzers Exxtra - Going In Blind                               MG Premium Ltd.
PA0002115699   Pervs On Patrol - Backyard Camping for Hottie on House         MG Premium Ltd.
               Arrest
PA0002115691   Mofos B Sides - Hotel Room Booty Call                          MG Premium Ltd.
PA0002115679   Mofos B Sides - Abby Loves Seamen In Her Mouth                 MG Premium Ltd.
PA0002115589   RK Prime - Omg Its Cinco De Mayo                               MG Premium Ltd.
PA0002115437   Stranded Teens - Hitchhiker Gives Blowjob In Car               MG Premium Ltd.
PA0002115427   Brazzers Exxtra - Brand New Bimbo                              MG Premium Ltd.
PA0002115415   Brazzers Exxtra - Baby Batter Cakes                            MG Premium Ltd.
PA0002114933   Brazzers Exxtra - 2017: A Look Back                            MG Premium Ltd.
PA0002114374   Brazzers Exxtra - The Size Queen                               MG Premium Ltd.
A0121                                                                                           Page 32 of 52
         Case 2:21-cv-08533-MCS-SP     Document 280 Filed 02/12/24     Page 34 of 55 Page ID
                                              #:7121



PA0002114368   Brazzers Exxtra - That Warm And Fuzzy Feeling                  MG Premium Ltd.
PA0002114355   RK Prime - Spring Break Night Club 3                           MG Premium Ltd.
PA0002114354   RK Prime - Spring Break Night Club 2                           MG Premium Ltd.
PA0002114353   RK Prime - Spring Break House Party 3                          MG Premium Ltd.
PA0002114352   RK Prime - Spring Break Beach House Party 2                    MG Premium Ltd.
PA0002114330   Mike's Apartment - Paying Rent With A Sex Tape                 MG Premium Ltd.
PA0002114319   Pure 18 - My Piano Teacher Is A Pervert                        MG Premium Ltd.
PA0002114317   Moms Bang Teens - Ms Fox Busts The Teens                       MG Premium Ltd.
PA0002114313   Brazzers Exxtra - Lela Commissions A Cock                      MG Premium Ltd.
PA0002113995   Public Pickups - Blonde Filled With Customer Service           MG Premium Ltd.
PA0002113992   Big Naturals - Big Natural Exercise Boobs                      MG Premium Ltd.
PA0002112859   Round and Brown - Round And Brownies                           MG Premium Ltd.
PA0002112848   Brazzers Exxtra - Monique's Wicked Web                         MG Premium Ltd.
PA0002112841   Brazzers Exxtra - I Dream Of Gina                              MG Premium Ltd.
PA0002112765   Mofos B Sides - First Time Anal Fun                            MG Premium Ltd.
PA0002112761   MOFOS Lab - Hurricane Adriana Floods Basement                  MG Premium Ltd.
PA0002112757   Lets Try Anal - Would Your Wife Do This? Bailey's First Anal   MG Premium Ltd.
PA0002112753   Mofos B Sides - Threesome Vlog With Step Bro                   MG Premium Ltd.
PA0002112746   Public Pickups - Nerdy Cutie Straddles Huge Cock               MG Premium Ltd.
PA0002112737   Mofos B Sides - Sexy Latina Quick Hookup                       MG Premium Ltd.
PA0002111562   Brazzers Exxtra - League of Pornstars: A XXX Parody            MG Premium Ltd.
PA0002111559   MOFOS Lab - Serenading Ukulele Lay                             MG Premium Ltd.
PA0002111348   Public Pickups - Ukrainian Babe Loves Public Sex               MG Premium Ltd.
PA0002111345   Real Wife Stories - The Wife-I Password                        MG Premium Ltd.
PA0002111344   Brazzers Exxtra - Ramming The Reporter                         MG Premium Ltd.
PA0002110675   Public Pickups - Armenian Babe Gets Cum in Her Eye             MG Premium Ltd.
PA0002110669   Stranded Teens - Stealing from the Easter Bunny's Basket       MG Premium Ltd.
PA0002110668   Mofos B Sides - Tanned GF Fucks Around The House               MG Premium Ltd.
A0121                                                                                          Page 33 of 52
         Case 2:21-cv-08533-MCS-SP    Document 280 Filed 02/12/24   Page 35 of 55 Page ID
                                             #:7122



PA0002109909   Brazzers Exxtra - The Foreman Is A Whore, Man              MG Premium Ltd.
PA0002109878   Mofos B Sides - Shy Cutie Joins Camgirl Threesome          MG Premium Ltd.
PA0002109877   Public Pickups - Shopping For A Big Dick                   MG Premium Ltd.
PA0002109872   RK Prime - Putting Her Thickness On Display                MG Premium Ltd.
PA0002109787   Milf Hunter - Hot Milf At The Gym                          MG Premium Ltd.
PA0002109771   MOFOS Lab - Gina Valentina BDSM Fantasy                    MG Premium Ltd.
PA0002109691   Public Pickups - Blonde Pussy Fucked In Public             MG Premium Ltd.
PA0002109683   Stranded Teens - Blonde Teen Fucks For Ride                MG Premium Ltd.
PA0002109676   Brazzers Exxtra - Plump As A Peach                         MG Premium Ltd.
PA0002109636   RK Prime - Spring Break Beach House Party                  MG Premium Ltd.
PA0002109568   Stranded Teens - Cuckhold Watches Busty Babe Fuck          MG Premium Ltd.
PA0002109564   Public Pickups - Fitness Babe Loves Public Sex             MG Premium Ltd.
PA0002109562   Brazzers Exxtra - Chock-Full Of Cock                       MG Premium Ltd.
PA0002108316   Mofos B Sides - Facial For Hot Tub Hottie                  MG Premium Ltd.
PA0002108301   Brazzers Exxtra - What Wifey Wants                         MG Premium Ltd.
PA0002108294   Brazzers Exxtra - Home Sweet Hoe                           MG Premium Ltd.
PA0002108256   Public Pickups - Anal By The Parking Lot                   MG Premium Ltd.
PA0002108157   ZZ Series - Xander's World Tour - Ep.2                     MG Premium Ltd.
PA0002108153   ZZ Series - Xander's World Tour - Ep.4                     MG Premium Ltd.
PA0002108133   ZZ Series - Xander's World Tour - Ep.3                     MG Premium Ltd.
PA0002106811   Mommy Got Boobs - Mommy Needs A MANicure                   MG Premium Ltd.
PA0002106203   Euro Sex Parties - Eastern Euro Anal Orgy                  MG Premium Ltd.
PA0002106195   MOFOS Lab - Blonde GF Loves Big Dick                       MG Premium Ltd.
PA0002105189   Dare Dorm - The Sluts In The Hall                          MG Premium Ltd.
PA0002105141   Brazzers Exxtra - My Slutty Valentine: Part 2              MG Premium Ltd.
PA0002105140   Brazzers Exxtra - My Slutty Valentine: Part 1              MG Premium Ltd.
PA0002105138   GF Revenge - My Gf Seduces Her Roommate                    MG Premium Ltd.
PA0002105068   Lets Try Anal - First Time Anal For Tara Ashley            MG Premium Ltd.
A0121                                                                                       Page 34 of 52
         Case 2:21-cv-08533-MCS-SP     Document 280 Filed 02/12/24    Page 36 of 55 Page ID
                                              #:7123



PA0002105026   Brazzers Exxtra - Catch Of The Day                           MG Premium Ltd.
PA0002105008   MOFOS Lab - BDSM Babe Abella Danger                          MG Premium Ltd.
PA0002105002   Milf Hunter - A Big Tip For Andy                             MG Premium Ltd.
PA0002104683   Mofos B Sides - Sneaky Apartment Pussy Pounding              MG Premium Ltd.
PA0002104677   Public Pickups - Blonde Nerd Loves Public Fucking            MG Premium Ltd.
PA0002104673   Stranded Teens - Pale Cutie Tastes Married Cock              MG Premium Ltd.
PA0002104655   ZZ Series - Xander's World Tour - Ep.1                       MG Premium Ltd.
PA0002104003   GF Revenge - Two Sluts Pitch A Tent                          MG Premium Ltd.
PA0002103993   Stranded Teens - Stranded Latina Outdoor Fucking             MG Premium Ltd.
PA0002103986   Round and Brown - Round Brown And Soapy Wet                  MG Premium Ltd.
PA0002103975   Mofos B Sides - One Night Stand Dildo Play                   MG Premium Ltd.
PA0002103966   Public Pickups - Italian Cutie Rides Dick At School          MG Premium Ltd.
PA0002103806   Mike's Apartment - While My Guitar Gently Creeps             MG Premium Ltd.
PA0002103603   Brazzers Exxtra - How To Bake A Creampie                     MG Premium Ltd.
PA0002103600   Pervs On Patrol - Hottie Cheats On The Phone With BF         MG Premium Ltd.
PA0002103580   Mofos B Sides - Gamer Babe Plays With Cock                   MG Premium Ltd.
PA0002103578   MOFOS Lab - GF Fucks Around The House                        MG Premium Ltd.
PA0002102351   Brazzers Exxtra - A-Mature Magic                             MG Premium Ltd.
PA0002102346   Brazzers Exxtra - 1 800 Phone Sex: Line 6                    MG Premium Ltd.
PA0002102345   Brazzers Exxtra - 1 800 Phone Sex: Line 5                    MG Premium Ltd.
PA0002102317   Milf Hunter - Milf From Above                                MG Premium Ltd.
PA0002102127   Public Pickups - Tiny Redhead Takes Dick In Park             MG Premium Ltd.
PA0002100944   Brazzers Exxtra - 1 800 Phone Sex: Line 8                    MG Premium Ltd.
PA0002100942   Brazzers Exxtra - 1 800 Phone Sex: Line 7                    MG Premium Ltd.
PA0002100579   MOFOS Lab - Blindfolded, Tied Up, And Fucked                 MG Premium Ltd.
PA0002100563   Pure 18 - Rich Girl Learns A Lesson                          MG Premium Ltd.
PA0002100562   RK Prime - Working Out With The Kings                        MG Premium Ltd.
PA0002100558   Sneaky Sex - Fly Me To The Poon                              MG Premium Ltd.
A0121                                                                                         Page 35 of 52
         Case 2:21-cv-08533-MCS-SP     Document 280 Filed 02/12/24     Page 37 of 55 Page ID
                                              #:7124



PA0002100154   Brazzers Exxtra - Pussy Pat-Down                              MG Premium Ltd.
PA0002100098   Milf Hunter - In The Garden Of The Milf                       MG Premium Ltd.
PA0002100074   Dare Dorm - Time To Experiment                                MG Premium Ltd.
PA0002100046   Public Pickups - Curvy Blonde Rides Dick In Garage            MG Premium Ltd.
PA0002099961   Public Pickups - Blonde Rides Dick In Public Park             MG Premium Ltd.
PA0002099274   Brazzers Exxtra - Strip Club Surprise                         MG Premium Ltd.
PA0002098785   Mofos B Sides - Tiny Lacey VS Huge Cock                       MG Premium Ltd.
PA0002098783   Mofos B Sides - POV With Amirah Adara                         MG Premium Ltd.
PA0002098780   Mofos B Sides - Russian Girlfriend Coffee Shop Sex            MG Premium Ltd.
PA0002098739   Mofos B Sides - Massage Makes Redhead Horny                   MG Premium Ltd.
PA0002098737   Mofos B Sides - Mariah's Expert Blowjob Technique             MG Premium Ltd.
PA0002098730   Mofos B Sides - Jezabel Seduces Her Bf's Bro                  MG Premium Ltd.
PA0002098715   Mofos B Sides - Georgia Peach Hannah Hays                     MG Premium Ltd.
PA0002098699   Mofos B Sides - Ebony Bikini Beauty Poolside                  MG Premium Ltd.
PA0002098680   Mofos B Sides - Chloe Couture in Torn Tights                  MG Premium Ltd.
PA0002098669   Mofos B Sides - Audrey Royal Sucks and Swallows               MG Premium Ltd.
PA0002098499   Stranded Teens - Pussy Creampie for Ashly Anderson            MG Premium Ltd.
PA0002098498   Brazzers Exxtra - Smoke Em Out                                MG Premium Ltd.
PA0002098093   Public Pickups - Teen Loves Public Cock                       MG Premium Ltd.
PA0002097969   MOFOS Lab - Test 101 - Charity's Girlfriend Xperience         MG Premium Ltd.
PA0002097553   Brazzers Exxtra - On The Sidelines, On Her Knees              MG Premium Ltd.
PA0002097501   ZZ Series - Die Hardcore: Part 2 (A XXX Parody)               MG Premium Ltd.
PA0002097415   Pervs On Patrol - Gagging on the Pool Guy's Cock              MG Premium Ltd.
PA0002097170   Brazzers Exxtra - Slipping Between Sisters                    MG Premium Ltd.
PA0002097156   Latina Sex Tapes - Latina is too Juicy for her Pants          MG Premium Ltd.
PA0002097145   Brazzers Exxtra - Fixing For A Fuck                           MG Premium Ltd.
PA0002097126   ZZ Series - Die Hardcore: Part 1 (A XXX Parody)               MG Premium Ltd.
PA0002097107   Lets Try Anal - Anal the Morning After                        MG Premium Ltd.
A0121                                                                                          Page 36 of 52
         Case 2:21-cv-08533-MCS-SP     Document 280 Filed 02/12/24   Page 38 of 55 Page ID
                                              #:7125



PA0002097090   Ebony Sex Tapes - Big Titty Sex Addict                      MG Premium Ltd.
PA0002096961   Lets Try Anal - Born Again Virgin Anal                      MG Premium Ltd.
PA0002096846   Sneaky Sex - Sneaky Webcam Slut                             MG Premium Ltd.
PA0002096680   Public Pickups - Public Handjob Turns Andi On               MG Premium Ltd.
PA0002096660   Sneaky Sex - Sneaky At The Movies                           MG Premium Ltd.
PA0002096571   Public Pickups - Blue Eyed Blonde Public Sex                MG Premium Ltd.
PA0002096560   Brazzers Exxtra - The Allure of Azure                       MG Premium Ltd.
PA0002096550   Brazzers Exxtra - The Trophy Husband                        MG Premium Ltd.
PA0002096546   Brazzers Exxtra - My Wife's Trainer                         MG Premium Ltd.
PA0002095767   Pure 18 - The Sluttiest Of Them All                         MG Premium Ltd.
PA0002095666   Public Pickups - Curvy Glasses Chick Outdoor Sex            MG Premium Ltd.
PA0002095661   Brazzers Exxtra - Whore-O-Scoping                           MG Premium Ltd.
PA0002095657   Baby Got Boobs - Babysitter Got Boobs                       MG Premium Ltd.
PA0002095152   Brazzers Exxtra - Stocks and Bonds-age                      MG Premium Ltd.
PA0002094011   Dare Dorm - Dorm Room Fucksgiving                           MG Premium Ltd.
PA0002093447   GF Revenge - My Gf Is No Angel                              MG Premium Ltd.
PA0002093428   Share My BF - MILF Shares Stepdaughter's BF                 MG Premium Ltd.
PA0002093378   Brazzers Exxtra - Pick and Choose 2                         MG Premium Ltd.
PA0002093244   GF Revenge - Dirty Sluts In The Tub                         MG Premium Ltd.
PA0002093205   Latina Sex Tapes - Cheater Gets Make Up Sex                 MG Premium Ltd.
PA0002093203   Public Pickups - Spanish Asian Amateur's Sloppy BJ          MG Premium Ltd.
PA0002093202   Brazzers Exxtra - Playing With Fire                         MG Premium Ltd.
PA0002093108   Brazzers Exxtra - It Puts the Lotion on the Cock            MG Premium Ltd.
PA0002092114   Brazzers Exxtra - Put Her To The Test                       MG Premium Ltd.
PA0002091739   Brazzers Exxtra - Pick and Choose                           MG Premium Ltd.
PA0002091097   Brazzers Exxtra - 1 800 Phone Sex: Line 3                   MG Premium Ltd.
PA0002090687   Brazzers Exxtra - Tasting The Trophy Wife                   MG Premium Ltd.
PA0002090574   Latina Sex Tapes - Wake up to Sex With Apolonia             MG Premium Ltd.
A0121                                                                                        Page 37 of 52
         Case 2:21-cv-08533-MCS-SP    Document 280 Filed 02/12/24   Page 39 of 55 Page ID
                                             #:7126



PA0002090083   Stranded Teens - Big Asian Tits In Sexy Costume            MG Premium Ltd.
PA0002089563   Cum Fiesta - Jill Cums To The Right Place                  MG Premium Ltd.
PA0002087338   Lets Try Anal - Anal and Sloppy BJ for Pranking BF         MG Premium Ltd.
PA0002087318   Brazzers Exxtra - The Mischievous Maid                     MG Premium Ltd.
PA0002087214   Brazzers Exxtra - The Siren's Cry                          MG Premium Ltd.
PA0002086573   Stranded Teens - Roadside Sex With Teen Cutie              MG Premium Ltd.
PA0002086545   Milf Hunter - No Picnic For Milf                           MG Premium Ltd.
PA0002086512   Brazzers Exxtra - In Tents Fucking: Part 2                 MG Premium Ltd.
PA0002086434   Brazzers Exxtra - Brazzers House 2: Unseen Moments         MG Premium Ltd.
PA0002086423   Share My BF - Angry Roommates Share Big Cock               MG Premium Ltd.
PA0002086422   Mike's Apartment - Anal Art Of The Deal                    MG Premium Ltd.
PA0002085940   Mike's Apartment - Never Ask Your Gf To Pay Rent           MG Premium Ltd.
PA0002085621   Milf Hunter - New Milf In Town                             MG Premium Ltd.
PA0002085149   Big Naturals - Moving In On Busty Neighbor                 MG Premium Ltd.
PA0002085113   Stranded Teens - Horny Asian Turned on by Big Cock         MG Premium Ltd.
PA0002085111   Stranded Teens - Hiker Blowjob on a Quad                   MG Premium Ltd.
PA0002085075   Happy Tugs - Audrey Works For Her Tip                      MG Premium Ltd.
PA0002085071   Dirty Masseur - A Surprise Stroke And Squirt               MG Premium Ltd.
PA0002082290   Brazzers Exxtra - A Goo Fucking                            MG Premium Ltd.
PA0002082281   Brazzers Exxtra - Tasting The Chef                         MG Premium Ltd.
PA0002082214   Brazzers Exxtra - The Bang Ring: Part 3                    MG Premium Ltd.
PA0002082201   ZZ Series - Brazzers House 2: Day 3                        MG Premium Ltd.
PA0002082199   Public Pickups - Latina's Big Tits and Plump Lips          MG Premium Ltd.
PA0002082127   RK Prime - Little Red Hood Riding Xxx Parody               MG Premium Ltd.
PA0002082022   Latina Sex Tapes - Curvy Latina Futbol Babe                MG Premium Ltd.
PA0002081995   Lets Try Anal - Deep Anal for Ballet Booty                 MG Premium Ltd.
PA0002081992   Brazzers Exxtra - What's Your Fantasy?                     MG Premium Ltd.
PA0002081414   ZZ Series - Brazzers House 2: Day 2                        MG Premium Ltd.
A0121                                                                                       Page 38 of 52
         Case 2:21-cv-08533-MCS-SP     Document 280 Filed 02/12/24    Page 40 of 55 Page ID
                                              #:7127



PA0002081412   Public Pickups - Outdoor Sex With Aidra Fox                  MG Premium Ltd.
PA0002081212   Brazzers Exxtra - Swipe the Slate Clean: Part Three          MG Premium Ltd.
PA0002081198   Brazzers Exxtra - Swipe the Slate Clean: Part Two            MG Premium Ltd.
PA0002081186   Brazzers Exxtra - Off The Rack                               MG Premium Ltd.
PA0002081181   Brazzers Exxtra - Mystery Tape: A XXX Parody                 MG Premium Ltd.
PA0002081070   GF Revenge - Girlfriends Just Wanna Have Fun                 MG Premium Ltd.
PA0002081039   Big Tits Boss - Big Tits Benefits                            MG Premium Ltd.
PA0002081020   GF Revenge - My Gf Kimber                                    MG Premium Ltd.
PA0002080974   Big Naturals - Big Tits On Her Sis                           MG Premium Ltd.
PA0002080932   Big Tits Boss - My Busty Boss Sara                           MG Premium Ltd.
PA0002079768   Dare Dorm - My Gf Likes To Party                             MG Premium Ltd.
PA0002079605   Brazzers Exxtra - 1 800 Phone Sex: Line 1                    MG Premium Ltd.
PA0002079507   Brazzers Exxtra - Fucking The Busker                         MG Premium Ltd.
PA0002079498   Share My BF - Double Dates Share Big Cock                    MG Premium Ltd.
PA0002079485   ZZ Series - Brazzers House 2: Day 1                          MG Premium Ltd.
PA0002079478   Ebony Sex Tapes - Audition Turns Into Sex Tape               MG Premium Ltd.
PA0002079477   Mofos B Sides - Anal Lesson From Tutor in Stockings          MG Premium Ltd.
PA0002079326   Mike's Apartment - Spending Time With Ms Miller              MG Premium Ltd.
PA0002079305   Happy Tugs - For A Few Dollars More                          MG Premium Ltd.
PA0002079249   RK Prime - Big Tip For Pizza Sluts                           MG Premium Ltd.
PA0002079087   Dirty Masseur - Getting My Hands On A MILF                   MG Premium Ltd.
PA0002079071   ZZ Series - Queen Of Thrones: Part 3 (A XXX Parody)          MG Premium Ltd.
PA0002079055   Brazzers Exxtra - 1 800 Phone Sex: Line 2                    MG Premium Ltd.
PA0002079041   Public Pickups - All Natural Beauty Keeps Panties On         MG Premium Ltd.
PA0002078984   Brazzers Exxtra - 1 800 Phone Sex: Line 4                    MG Premium Ltd.
PA0002078979   Brazzers Exxtra - Cops and Knobbers                          MG Premium Ltd.
PA0002078969   Brazzers Exxtra - Ice Cream, You Cream                       MG Premium Ltd.
PA0002078950   Stranded Teens - Free Blowjob for a Ride Home                MG Premium Ltd.
A0121                                                                                         Page 39 of 52
         Case 2:21-cv-08533-MCS-SP    Document 280 Filed 02/12/24    Page 41 of 55 Page ID
                                             #:7128



PA0002078931   Brazzers Exxtra - Deeper In The Housekeeper                 MG Premium Ltd.
PA0002078782   Lets Try Anal - Leggy Wife Spices it up With Anal           MG Premium Ltd.
PA0002078481   Public Pickups - Public Sex With Jade Amber                 MG Premium Ltd.
PA0002077699   Big Naturals - Big Tits Maid Service                        MG Premium Ltd.
PA0002077691   RK Prime - Amirah Cheers For Anal Sex                       MG Premium Ltd.
PA0002076973   Latina Sex Tapes - Hot Latina Gives Ice-Cube BJ             MG Premium Ltd.
PA0002076321   Big Naturals - Big Tits In Black                            MG Premium Ltd.
PA0002075676   Milf Hunter - Sexy Dirty Milf                               MG Premium Ltd.
PA0002075605   Sneaky Sex - Sneaky Salon Sluts                             MG Premium Ltd.
PA0002075489   Big Naturals - Big Tits On A Boat                           MG Premium Ltd.
PA0002075450   Monster Curves - Sticking A Pipe In Her Pussy               MG Premium Ltd.
PA0002075398   Big Tits Boss - Big Tits On Tiffany                         MG Premium Ltd.
PA0002075397   Milf Hunter - Getting Dirty With Ms Croft                   MG Premium Ltd.
PA0002075384   ZZ Series - Queen Of Thrones: Part 2 (A XXX Parody)         MG Premium Ltd.
PA0002075286   Monster Curves - Monster Curves Science Xxx Parody          MG Premium Ltd.
PA0002075277   Big Tits Boss - Busty Boss Appreciation Day                 MG Premium Ltd.
PA0002075244   Big Naturals - Boned On The Fourth Of July                  MG Premium Ltd.
PA0002075243   RK Prime - Public Fun In The Sun                            MG Premium Ltd.
PA0002074593   Public Pickups - Latina Bounces on Fat Cock                 MG Premium Ltd.
PA0002074581   Brazzers Exxtra - In The Lap Of Luxury                      MG Premium Ltd.
PA0002074572   Lets Try Anal - Birthday Gloryhole Anal Surprise            MG Premium Ltd.
PA0002074570   ZZ Series - Queen Of Thrones: Part 1 (A XXX Parody)         MG Premium Ltd.
PA0002073757   Stranded Teens - Half Asian Cutie Fucks for Ride            MG Premium Ltd.
PA0002073748   Brazzers Exxtra - Return Of Ivy                             MG Premium Ltd.
PA0002072849   Stranded Teens - Sexy Cowgirl Bucked Then Fucked            MG Premium Ltd.
PA0002072558   Brazzers Exxtra - Teasing The Teaser                        MG Premium Ltd.
PA0002072530   Lets Try Anal - Shower Show and Anal by Alex Harper         MG Premium Ltd.
PA0002072526   Public Pickups - Roadside Interview Leads to Sex            MG Premium Ltd.
A0121                                                                                        Page 40 of 52
         Case 2:21-cv-08533-MCS-SP      Document 280 Filed 02/12/24   Page 42 of 55 Page ID
                                               #:7129



PA0002072525   Share My BF - Threesome for Pervy BF Spy                     MG Premium Ltd.
PA0002072412   Public Pickups - Friendly Blonde Fucks in Public             MG Premium Ltd.
PA0002072382   Hot And Mean - Cum Like It's Hot                             MG Premium Ltd.
PA0002072365   Brazzers Exxtra - A Big Load                                 MG Premium Ltd.
PA0002071634   Ebony Sex Tapes - Messy Facial for Ebony Spinner             MG Premium Ltd.
PA0002070887   Brazzers Exxtra - A Daring First Date                        MG Premium Ltd.
PA0002069612   Public Pickups - Fun-loving Model Fucks in Public            MG Premium Ltd.
PA0002058369   Latina Sex Tapes - Bubble Butt Latina Fucked                 MG Premium Ltd.
PA0002058367   Dirty Masseur - The Perks Of Gettin' Jerked                  MG Premium Ltd.
PA0002057462   Public Pickups - Saucy Blonde Fucks for Money                MG Premium Ltd.
PA0002057443   Hot And Mean - Freshen Up And Hookup                         MG Premium Ltd.
PA0002057404   Public Pickups - Busty Innocent Fucks for Cash               MG Premium Ltd.
PA0002057395   Brazzers Exxtra - When Lana's Home Alone...                  MG Premium Ltd.
PA0002057385   Lets Try Anal - Butt Plug Collection Inspires Anal           MG Premium Ltd.
PA0002057383   Mofos B Sides - Piledriver for Student Hottie                MG Premium Ltd.
PA0002057282   Brazzers Exxtra - I Can Do Anal Though...                    MG Premium Ltd.
PA0002057266   Brazzers Exxtra - Eating Her Peach                           MG Premium Ltd.
PA0002057213   Brazzers Exxtra - Bloodthirsty Biker Babes: Part 2           MG Premium Ltd.
PA0002057204   Dirty Masseur - Couple Cums For A Massage                    MG Premium Ltd.
PA0002056578   Brazzers Exxtra - The House Christening                      MG Premium Ltd.
PA0002056567   Real Wife Stories - My Boss And My Wife                      MG Premium Ltd.
PA0002056564   Stranded Teens - Spinner Sucks Cock for Fame                 MG Premium Ltd.
PA0002056540   Brazzers Exxtra - The Blind Date                             MG Premium Ltd.
PA0002056489   Latina Sex Tapes - Latina Beauty Delights with BJ            MG Premium Ltd.
PA0002056484   Public Pickups - Miami Latina Goes Straight for Cash         MG Premium Ltd.
PA0002053403   Lets Try Anal - Anal Sex for Hot Blonde Stepsister           MG Premium Ltd.
PA0002050919   Latina Sex Tapes - Sexting Latina Makes House Call           MG Premium Ltd.
PA0002050915   Public Pickups - Cute British Chick Needs Cash               MG Premium Ltd.
A0121                                                                                         Page 41 of 52
         Case 2:21-cv-08533-MCS-SP     Document 280 Filed 02/12/24        Page 43 of 55 Page ID
                                              #:7130



PA0002050840   Public Pickups - Post-Workout Treat for Gym Babe                 MG Premium Ltd.
PA0002050838   Ebony Sex Tapes - Ebony Muse Helps Make Art                      MG Premium Ltd.
PA0002050835   Brazzers Exxtra - Affair On The Air                              MG Premium Ltd.
PA0002050831   Real Wife Stories - Caring Wife Craves Cum                       MG Premium Ltd.
PA0002050826   ZZ Series - Power Bangers: A XXX Parody Part 5                   MG Premium Ltd.
PA0002050793   Brazzers Exxtra - Pool Club Newcummer                            MG Premium Ltd.
PA0002031108   Real Wife Stories - Double Timing Wife 2                         MG Premium Ltd.
PA0002031101   Brazzers Exxtra - If The Dick Fits: Part 1                       MG Premium Ltd.
PA0002030966   Lets Try Anal - Preserve Your Virginity With Anal                MG Premium Ltd.
PA0002030933   Mofos B Sides - Cum Shower for Horny Mannequin                   MG Premium Ltd.
PA0002030930   Public Pickups - Pilates Instructor Fucks in Alley               MG Premium Ltd.
PA0002030880   Stranded Teens - Lost Spinner Fucks in Truck Bed                 MG Premium Ltd.
PA0002015293   Pornstar Vote - Jessa Rhodes's Pussy Gets a Package              MG Premium Ltd.
PA0001999854   Public Pickups - Innocent Student Makes Amateur Porn             MG Premium Ltd.
PA0001991349   ZZ Series - Lost In Brazzers Episode 4                           MG Premium Ltd.
PA0001990237   ZZ Series - Lost In Brazzers Episode 3                           MG Premium Ltd.
PA0001978587   Doctor Adventures - Wet & Naughty Sponge Bath Party              MG Premium Ltd.
PA0001974431   Doctor Adventures - Nasty Checkup with Dr. Darby                 MG Premium Ltd.
PA0001965652   Stranded Teens - Kimmy Gives Good Road Head                      MG Premium Ltd.
PA0001965643   Brazzers Exxtra - A Photogenic Fucking                           MG Premium Ltd.
PA0001965628   Doctor Adventures - Doctor Feet Fucker                           MG Premium Ltd.
PA0001965610   Brazzers Exxtra - Pole Skills and Holes Filled                   MG Premium Ltd.
PA0001965592   Real Wife Stories - Horny Wife Wants A Stranger                  MG Premium Ltd.
PA0001965570   Doctor Adventures - ZZ Hospital - Ri-Dick-ulous Behavior         MG Premium Ltd.
PA0001965210   Public Pickups - Freckled Village Babe Gets Banged               MG Premium Ltd.
PA0001964868   Latina Sex Tapes - Latina Streaks in Construction Site           MG Premium Ltd.
PA0001964863   Mofos B Sides - Giggly Blonde's Amateur Sextape                  MG Premium Ltd.
PA0001946104   Lets Try Anal - British Babe's First Try at Anal                 MG Premium Ltd.
A0121                                                                                             Page 42 of 52
         Case 2:21-cv-08533-MCS-SP     Document 280 Filed 02/12/24    Page 44 of 55 Page ID
                                              #:7131



PA0001942764   Big Wet Butts - My Big Butt Maid                             MG Premium Ltd.
PA0001942632   ZZ Series - Vice City Vacation: Part Three                   MG Premium Ltd.
PA0001942111   ZZ Series - Vice City Vacation: Part Two                     MG Premium Ltd.
PA0001941490   Stranded Teens - Stranded Frenchie Fucks in the Car          MG Premium Ltd.
PA0001941485   Brazzers Exxtra - The Cocksucking Cop Sucker                 MG Premium Ltd.
PA0001941323   Doctor Adventures - Teaching Her How To Cum                  MG Premium Ltd.
PA0001941313   Mofos B Sides - Redhead Fucks by the Pool                    MG Premium Ltd.
PA0001941310   Public Pickups - Anna Works for That Thick Wad               MG Premium Ltd.
PA0001941082   ZZ Series - Vice City Vacation: Part One                     MG Premium Ltd.
PA0001940771   Drone Hunter - Spying on an Outdoor Public Fuck              MG Premium Ltd.
PA0001940759   Real Wife Stories - Double Timing Wife: Part 3               MG Premium Ltd.
PA0001940756   Brazzers Exxtra - A Rough Pro Bono                           MG Premium Ltd.
PA0001940755   ZZ Series - Brazzers House Episode Five Bonus Part 1         MG Premium Ltd.
PA0001940752   ZZ Series - Brazzers House Episode Five Bonus Part 2         MG Premium Ltd.
PA0001940692   Public Pickups - Sexy Tourist Fucks in the Bathroom          MG Premium Ltd.
PA0001940677   Mofos B Sides - Blonde Amateur's Sex Tape                    MG Premium Ltd.
PA0001940631   Public Pickups - Spanish Student Down to Fuck                MG Premium Ltd.
PA0001940576   ZZ Series - Brazzers House Episode Four Bonus                MG Premium Ltd.
PA0001940563   Doctor Adventures - How To Please A Sleaze                   MG Premium Ltd.
PA0001940560   Lets Try Anal - French Girl's Anal Fantasy                   MG Premium Ltd.
PA0001940001   Stranded Teens - Stranded Slut Sucks Dick                    MG Premium Ltd.
PA0001939581   Stranded Teens - Brooke Takes a Free Ride                    MG Premium Ltd.
PA0001939537   Hot And Mean - Eva and Alektra Get Nasty                     MG Premium Ltd.
PA0001938838   Mofos B Sides - GF Can't Wait for Cock                       MG Premium Ltd.
PA0001938837   Public Pickups - Canadian Babe Sucks Cock for Cash           MG Premium Ltd.
PA0001938826   ZZ Series - Brazzers House Episode Three Bonus               MG Premium Ltd.
PA0001938174   Lets Try Anal - Booty Workout: Squats and Anal Sex!          MG Premium Ltd.
PA0001937560   Latina Sex Tapes - Cumming on Latina Teen's Glasses          MG Premium Ltd.
A0121                                                                                         Page 43 of 52
         Case 2:21-cv-08533-MCS-SP     Document 280 Filed 02/12/24     Page 45 of 55 Page ID
                                              #:7132



PA0001937516   Doctor Adventures - The Cock In The Doc                       MG Premium Ltd.
PA0001937465   Brazzers Exxtra - Taste Marsha's Treats                       MG Premium Ltd.
PA0001937463   Public Pickups - Double the Cum for Blonde Babe               MG Premium Ltd.
PA0001937460   Brazzers Exxtra - The Blowjob Business                        MG Premium Ltd.
PA0001937459   Busted Babysitters - Horny Couple Share Teen Pussy            MG Premium Ltd.
PA0001936537   Stranded Teens - Dirty Gal Fucks in the Backseat              MG Premium Ltd.
PA0001936425   Drone Hunter - Fuckin' at the Fishin' Hole                    MG Premium Ltd.
PA0001936407   Doctor Adventures - This Nurse Is a Hooker                    MG Premium Ltd.
PA0001936403   Public Pickups - Classy Chick Gets Down and Dirty             MG Premium Ltd.
PA0001936402   Busted Babysitters - Busty MILF Teaches Tight Teen            MG Premium Ltd.
PA0001936397   Brazzers Exxtra - Taught To Talk Dirty                        MG Premium Ltd.
PA0001936010   Shes Gonna Squirt - Wish Upon A Squirt                        MG Premium Ltd.
PA0001935977   Lets Try Anal - St. Patick's Day Anal                         MG Premium Ltd.
PA0001935723   Doctor Adventures - Night Shift's Naughtiest Nurse Part Two   MG Premium Ltd.
PA0001935690   Big Wet Butts - The Return of Bella's Big Wet Booty           MG Premium Ltd.
PA0001935665   Public Pickups - Brunette Caprice Sucks Like a Pro            MG Premium Ltd.
PA0001935089   Lets Try Anal - Russian Babe Gapes During First Anal          MG Premium Ltd.
PA0001934839   Busted Babysitters - Babysitter is Ready to Fuck              MG Premium Ltd.
PA0001934838   Public Pickups - Hungarian Girl Strips for Cash               MG Premium Ltd.
PA0001933939   Brazzers Exxtra - Modern Museum of Fine Ass                   MG Premium Ltd.
PA0001933933   Brazzers Exxtra - Candyâ€™s Cam Fun                           MG Premium Ltd.
PA0001933896   Brazzers Exxtra - How Rough Does She Want It?                 MG Premium Ltd.
PA0001933873   Stranded Teens - Give Me a Ride, I'll Give You One Too        MG Premium Ltd.
PA0001933870   Stranded Teens - Hitch-Hiking Ho Wants the Dick               MG Premium Ltd.
PA0001933869   Real Slut Party - After Hours Sex Party Foursome              MG Premium Ltd.
PA0001933867   Stranded Teens - Taking a Ride With Two Swingers              MG Premium Ltd.
PA0001933866   Stranded Teens - Going the Distance with Kota                 MG Premium Ltd.
PA0001933864   Stranded Teens - Pulling Over to Pound Pussy                  MG Premium Ltd.
A0121                                                                                          Page 44 of 52
         Case 2:21-cv-08533-MCS-SP      Document 280 Filed 02/12/24     Page 46 of 55 Page ID
                                               #:7133



PA0001933863   Stranded Teens - Let My Tits Do the Talking                    MG Premium Ltd.
PA0001933862   Stranded Teens - Stranded Redhead Teen Wants That Dick         MG Premium Ltd.
PA0001933859   Stranded Teens - Road Head From a Stranded Latina              MG Premium Ltd.
PA0001933650   Pervs On Patrol - Perving Out on His Neighbor                  MG Premium Ltd.
PA0001933637   Big Wet Butts - Infiltrating A Pornstar's Wet Anus             MG Premium Ltd.
PA0001933612   Busted Babysitters - Horny Teen Caught in the Act              MG Premium Ltd.
PA0001933588   Public Pickups - Euro Girl Gets Picked Up                      MG Premium Ltd.
PA0001933587   Busted Babysitters - Swinger Couple Seduces the Babysitter     MG Premium Ltd.
PA0001933586   Busted Babysitters - From Naked Selfies to a Threesome!        MG Premium Ltd.
PA0001933583   Busted Babysitters - Webcamming Babysitter Learns to Fuck      MG Premium Ltd.
PA0001933576   Doctor Adventures - Doc Takes On The Biggest Cock              MG Premium Ltd.
PA0001933573   Busted Babysitters - Milf and Babysitter Share a Cock          MG Premium Ltd.
PA0001933219   Brazzers Exxtra - A Love Hate Fuck Relationship                MG Premium Ltd.
PA0001933218   Stranded Teens - This Policewoman Needs Cock Too               MG Premium Ltd.
PA0001933190   Real Slut Party - Wild Fuck Party With Two Amateurs            MG Premium Ltd.
PA0001932610   Doctor Adventures - Night Shift's Naughtiest Nurse Part One    MG Premium Ltd.
PA0001932591   Public Pickups - Topless DJ Puts on a Private Show             MG Premium Ltd.
PA0001932093   Stranded Teens - Orgy with Three Sexy Hitchhikers              MG Premium Ltd.
PA0001932090   Brazzers Exxtra - The Butt Next Door                           MG Premium Ltd.
PA0001932010   Public Pickups - Spanish Girl Needs Some Cash                  MG Premium Ltd.
PA0001932003   Mofos B Sides - Babe Gives Blowjob on the Beach                MG Premium Ltd.
PA0001931922   Brazzers Exxtra - Two Bangz vs Nancy                           MG Premium Ltd.
PA0001931905   Doctor Adventures - House Call On My Balls                     MG Premium Ltd.
PA0001930584   Public Pickups - Riding Dick in the Changing Room              MG Premium Ltd.
PA0001930583   Mofos B Sides - Camgirl Brandi Puts on a Show                  MG Premium Ltd.
PA0001930534   Lets Try Anal - Tight Ass on Anal Ava                          MG Premium Ltd.
PA0001930524   Stranded Teens - Red Head Hitchhiker Loves the Cock            MG Premium Ltd.
PA0001930520   Doctor Adventures - The Great Doctor Part Two                  MG Premium Ltd.
A0121                                                                                           Page 45 of 52
         Case 2:21-cv-08533-MCS-SP    Document 280 Filed 02/12/24   Page 47 of 55 Page ID
                                             #:7134



PA0001930516   Brazzers Exxtra - The Perfect Maid                         MG Premium Ltd.
PA0001930493   Lets Try Anal - Anal for the Holidays                      MG Premium Ltd.
PA0001930416   Hot And Mean - Hot Cop Mean Cop                            MG Premium Ltd.
PA0001930329   Mofos B Sides - Big Cock for Moretta Cox                   MG Premium Ltd.
PA0001930326   Public Pickups - Euro Babe Banging for Bucks               MG Premium Ltd.
PA0001930304   Real Wife Stories - Cheating Wife Loves Black Cock         MG Premium Ltd.
PA0001929376   Doctor Adventures - The Great Doctor Part One              MG Premium Ltd.
PA0001928605   Mofos B Sides - Calling in Professional Pussy              MG Premium Ltd.
PA0001928604   Public Pickups - Blonde Amateur Fucks in Stockings         MG Premium Ltd.
PA0001928314   Mofos B Sides - Athletic Amateur Sucks and Fucks           MG Premium Ltd.
PA0001927886   Drone Hunter - Fucking Raven on the Roof                   MG Premium Ltd.
PA0001927309   Public Pickups - Russian Nurse Public Sex                  MG Premium Ltd.
PA0001927292   Stranded Teens - Two Dicks for Stranded Teen               MG Premium Ltd.
PA0001927284   Big Wet Butts - Young Big Butt Anal                        MG Premium Ltd.
PA0001927269   Brazzers Exxtra - A Warm Place to Stay Tonight             MG Premium Ltd.
PA0001927097   Latina Sex Tapes - Cheating Latina Works the Pole          MG Premium Ltd.
PA0001927089   Brazzers Exxtra - Monique's Cumshot Countdown              MG Premium Ltd.
PA0001926097   Big Wet Butts - Prison Sluts With Big Butts                MG Premium Ltd.
PA0001925967   Latina Sex Tapes - Spanish Babe's Hot Sex Tape             MG Premium Ltd.
PA0001925892   Stranded Teens - Blonde Bangs In the Back-Seat             MG Premium Ltd.
PA0001925886   Brazzers Exxtra - Cumming Home For Christmas! Part One     MG Premium Ltd.
PA0001925885   Brazzers Exxtra - Operation Ho Ho Ho                       MG Premium Ltd.
PA0001925884   Brazzers Exxtra - Cumming Home For Christmas! Part Two     MG Premium Ltd.
PA0001925872   Brazzers Exxtra - Fast Times Fantasy                       MG Premium Ltd.
PA0001925672   Public Pickups - Hungarian Babe Is Down to Fuck            MG Premium Ltd.
PA0001925517   Lets Try Anal - British Girl's First Anal Sex              MG Premium Ltd.
PA0001925344   Brazzers Exxtra - Last Stop , Titfuck Road                 MG Premium Ltd.
PA0001925317   Brazzers Exxtra - Comply With This Guy                     MG Premium Ltd.
A0121                                                                                       Page 46 of 52
         Case 2:21-cv-08533-MCS-SP     Document 280 Filed 02/12/24   Page 48 of 55 Page ID
                                              #:7135



PA0001925314   Brazzers Exxtra - I Hope You Brought Enough for Everyone!   MG Premium Ltd.
PA0001925294   Public Pickups - Russian Babe Is Easy to Bang               MG Premium Ltd.
PA0001925190   Brazzers Exxtra - Whenever, Wherever, However               MG Premium Ltd.
PA0001924879   Stranded Teens - Cosplaying Chick Sucks Like a Pro          MG Premium Ltd.
PA0001924840   Public Pickups - All I Want for Christmas Is Pussy!         MG Premium Ltd.
PA0001924649   Doctor Adventures - The Healing Power of Pussy              MG Premium Ltd.
PA0001923952   Lets Try Anal - Cutie Loses a Bet For Anal Sex              MG Premium Ltd.
PA0001923939   Public Pickups - Busty Babes in Amateur Threesome           MG Premium Ltd.
PA0001923937   Latina Sex Tapes - Amateur Latina Cums Hard                 MG Premium Ltd.
PA0001923897   Brazzers Exxtra - Tour Of London Part One                   MG Premium Ltd.
PA0001923732   Brazzers Exxtra - Isabella's All-Anal Fuck-Date             MG Premium Ltd.
PA0001923721   Drone Hunter - Can't Hide From the Drone                    MG Premium Ltd.
PA0001923710   Baby Got Boobs - Big Oily Boobs A-bouncing!                 MG Premium Ltd.
PA0001923709   Doctor Adventures - Cumming Out of a Coma                   MG Premium Ltd.
PA0001923579   Brazzers Exxtra - Backyard Butt Sex                         MG Premium Ltd.
PA0001923278   Stranded Teens - Southern Teen Fucks in the Car             MG Premium Ltd.
PA0001923266   Lets Try Anal - Petite Cutie's Anal Sex Tape                MG Premium Ltd.
PA0001923243   Doctor Adventures - Show The Doc How You Suck Cock          MG Premium Ltd.
PA0001923216   Pervs On Patrol - Putting on a Show for a Voyeur            MG Premium Ltd.
PA0001923206   Real Wife Stories - Care to Fuck My Wife?                   MG Premium Ltd.
PA0001922961   Stranded Teens - Anal With a Long Leg Hottie                MG Premium Ltd.
PA0001922959   Public Pickups - Lilia's Outdoor Public Sex                 MG Premium Ltd.
PA0001922235   Lets Try Anal - Juicy Butt GF Tries Anal                    MG Premium Ltd.
PA0001922078   Dirty Masseur - Massaging Her Best Friend's Husband         MG Premium Ltd.
PA0001922073   Brazzers Exxtra - Big News On The Boob Tube                 MG Premium Ltd.
PA0001921455   Public Pickups - Amateur Schoolgirl Knows How To Suck       MG Premium Ltd.
PA0001921281   Lets Try Anal - Anal for that Soapy Wet Ass                 MG Premium Ltd.
PA0001921030   Brazzers Exxtra - The Professional Touch                    MG Premium Ltd.
A0121                                                                                        Page 47 of 52
         Case 2:21-cv-08533-MCS-SP     Document 280 Filed 02/12/24      Page 49 of 55 Page ID
                                              #:7136



PA0001919741   Public Pickups - Amateur Cowgirl Fucks For Cash                MG Premium Ltd.
PA0001919715   Latina Sex Tapes - Best Friend Films Amateur Sex Tape          MG Premium Ltd.
PA0001919701   ZZ Series - American Whore Story Part Five                     MG Premium Ltd.
PA0001919685   Lets Try Anal - Amateur Babe Tries Anal Sex                    MG Premium Ltd.
PA0001919679   Stranded Teens - Blonde Gets Nailed on Camera                  MG Premium Ltd.
PA0001919235   Latina Sex Tapes - Latina Fools Around on Film                 MG Premium Ltd.
PA0001918791   ZZ Series - American Whore Story Part Three                    MG Premium Ltd.
PA0001918719   Public Pickups - Amateur Slut Fucks for Cash                   MG Premium Ltd.
PA0001918708   Real Wife Stories - Double Timing Wife: Part 2                 MG Premium Ltd.
PA0001918707   ZZ Series - American Whore Story Part Four                     MG Premium Ltd.
PA0001918704   Stranded Teens - Off-Duty Lifeguard Gets Rescued               MG Premium Ltd.
PA0001918650   Moms in control - Shagging In The Shower                       MG Premium Ltd.
PA0001918601   Moms in control - My Stepmom the Control Freak                 MG Premium Ltd.
PA0001917741   Mofos B Sides - Bad Girls Caught Stealing                      MG Premium Ltd.
PA0001917734   Big Tits at School - Big Tits in the Field                     MG Premium Ltd.
PA0001917470   ZZ Series - American Whore Story Part Two                      MG Premium Ltd.
PA0001917426   Stranded Teens - Roadside Sex With Aerobics Instructor         MG Premium Ltd.
PA0001917328   Public Pickups - Recruiting a Sexy Euro Girl                   MG Premium Ltd.
PA0001917303   Hot And Mean - Ava and the Slutty Schoolgirls                  MG Premium Ltd.
PA0001917263   ZZ Series - American Whore Story Part One                      MG Premium Ltd.
PA0001917227   Stranded Teens - Stranded at the Bus Stop                      MG Premium Ltd.
PA0001917222   Latina Sex Tapes - Colombian Amateur's Sex Tape                MG Premium Ltd.
PA0001917217   Mofos B Sides - Teen Whore's Porn Audition Tape                MG Premium Ltd.
PA0001916681   Lets Try Anal - Truth or Dare Anal Sex                         MG Premium Ltd.
PA0001916679   Baby Got Boobs - Romeo and Juliet's Boobs                      MG Premium Ltd.
PA0001916673   Public Pickups - Big Titted Waitress Fucks for Money           MG Premium Ltd.
PA0001916565   Doctor Adventures - Affair With A Doctor                       MG Premium Ltd.
PA0001916035   Public Pickups - Hungarian Amateur Sells Her Pussy             MG Premium Ltd.
A0121                                                                                           Page 48 of 52
         Case 2:21-cv-08533-MCS-SP     Document 280 Filed 02/12/24   Page 50 of 55 Page ID
                                              #:7137



PA0001915994   Stranded Teens - Stewardess Gives Sloppy Road Head          MG Premium Ltd.
PA0001915691   Dirty Masseur - She Wanted a Chick Instead She Got Dick     MG Premium Ltd.
PA0001915407   Public Pickups - Euro Babe Works the Cock                   MG Premium Ltd.
PA0001915400   Doctor Adventures - Pervy Deeds Done Dirt Cheap             MG Premium Ltd.
PA0001914839   Public Pickups - Festival Chick Takes the Dick              MG Premium Ltd.
PA0001914829   Doctor Adventures - Kayla Wants Her Doctor's Goo            MG Premium Ltd.
PA0001914817   Dirty Masseur - How to Stuff a Bird                         MG Premium Ltd.
PA0001914816   Brazzers Exxtra - Spanking Some Sense Into Her              MG Premium Ltd.
PA0001914544   Lets Try Anal - Teen Massage and Anal Creampie              MG Premium Ltd.
PA0001914542   Brazzers Exxtra - Fucking on the Open Water: Part Three     MG Premium Ltd.
PA0001914528   Pervs On Patrol - Changing Room Teen on Hidden Camera       MG Premium Ltd.
PA0001914408   Latina Sex Tapes - Outdoor Sex With Amateur Latina          MG Premium Ltd.
PA0001914404   Doctor Adventures - This Pharmacist Can Fuck Off            MG Premium Ltd.
PA0001914192   Dirty Masseur - She Wants More Than a Massage               MG Premium Ltd.
PA0001913433   Brazzers Exxtra - Fucking on the Open Water: Part Two       MG Premium Ltd.
PA0001913338   Lets Try Anal - Anal Lessons for Celine                     MG Premium Ltd.
PA0001912375   Doctor Adventures - I'm Horny - Call an Ambulance!          MG Premium Ltd.
PA0001912308   Latina Sex Tapes - Latina Gives That Dick a Workout         MG Premium Ltd.
PA0001912275   Dirty Masseur - Danny Vs Life: Part Two                     MG Premium Ltd.
PA0001912268   Real Slut Party - Teens Ride the Party Boat                 MG Premium Ltd.
PA0001912000   Lets Try Anal - Amateur Girlfriend Loves Anal               MG Premium Ltd.
PA0001911997   Big Tits at Work - Are Your Wife's Tits This Big?           MG Premium Ltd.
PA0001911995   Brazzers Exxtra - Fucking on the Open Water: Part One       MG Premium Ltd.
PA0001911406   Public Pickups - Naked on the Prague Streets                MG Premium Ltd.
PA0001911405   Latina Sex Tapes - Rained-Out Campers Film Sex Tape         MG Premium Ltd.
PA0001911403   Stranded Teens - British Tart Fucks a Cabbie                MG Premium Ltd.
PA0001910566   Doctor Adventures - Inside Nutley's Asylum : Part Three     MG Premium Ltd.
PA0001909934   Mofos B Sides - Slutty Newbie Tries Making Porn             MG Premium Ltd.
A0121                                                                                        Page 49 of 52
         Case 2:21-cv-08533-MCS-SP    Document 280 Filed 02/12/24    Page 51 of 55 Page ID
                                             #:7138



PA0001909928   Mofos B Sides - Amateurs Bang a Porn Legend                 MG Premium Ltd.
PA0001909920   Stranded Teens - Horny Hitchhikers Put on a Show            MG Premium Ltd.
PA0001909835   Brazzers Exxtra - Whats Under The Hood                      MG Premium Ltd.
PA0001909831   Lets Try Anal - Anal Sex in the Woods                       MG Premium Ltd.
PA0001909828   Mofos B Sides - Euro Amateur Public Sex                     MG Premium Ltd.
PA0001909547   Latina Sex Tapes - Public Blowjob from a Sexy Latina        MG Premium Ltd.
PA0001909458   Brazzers Exxtra - Sex On Wheels                             MG Premium Ltd.
PA0001909043   Stranded Teens - Picking Up an Ebony Teen                   MG Premium Ltd.
PA0001908935   Latina Sex Tapes - Latina Flashes in Public                 MG Premium Ltd.
PA0001908926   Public Pickups - Horny Girl Fucking in a Factory            MG Premium Ltd.
PA0001908899   Doctor Adventures - Study of the Male Gender                MG Premium Ltd.
PA0001908716   Mofos B Sides - Private Lessons from a Porn Star            MG Premium Ltd.
PA0001908636   Public Pickups - Big Tits Bartender Public Flash            MG Premium Ltd.
PA0001908549   Lets Try Anal - Euro Blonde - Hard First Anal               MG Premium Ltd.
PA0001908539   Public Pickups - Hairdresser Takes Cash for Anal            MG Premium Ltd.
PA0001908512   Big Wet Butts - Big Butt Slut in the Summer Sun             MG Premium Ltd.
PA0001908171   Stranded Teens - Ebony Amateur Outdoor Hook-Up              MG Premium Ltd.
PA0001907630   Brazzers Exxtra - A little Discipline for Phoenix           MG Premium Ltd.
PA0001907410   Big Tits In Uniform - Big Tits in the Bighouse              MG Premium Ltd.
PA0001907404   Real Slut Party - Naked Pool Party Chicks                   MG Premium Ltd.
PA0001907318   Public Pickups - Euro Girl Cheats on Her Boyfriend          MG Premium Ltd.
PA0001907284   Brazzers Exxtra - You Wreck My Car, I Wreck Your Ass        MG Premium Ltd.
PA0001907277   Stranded Teens - Russian Teen Gives Great Head              MG Premium Ltd.
PA0001907273   Latina Sex Tapes - Teen Latina Hook-Up                      MG Premium Ltd.
PA0001907111   Public Pickups - Euro Seduced by a Stranger                 MG Premium Ltd.
PA0001907110   Mofos B Sides - Teen Couple Fucks Porn Star                 MG Premium Ltd.
PA0001907097   Doctor Adventures - Take One Dick, Call Me In The Morning   MG Premium Ltd.
PA0001907030   Lets Try Anal - Tourist Tapes His Anal Exploits             MG Premium Ltd.
A0121                                                                                        Page 50 of 52
         Case 2:21-cv-08533-MCS-SP     Document 280 Filed 02/12/24     Page 52 of 55 Page ID
                                              #:7139



PA0001906608   Brazzers Exxtra - Lesbians Learn to Love Cock                 MG Premium Ltd.
PA0001906448   Latina Sex Tapes - Latina Loses Her Wager                     MG Premium Ltd.
PA0001906433   Lets Try Anal - Girlfriend Tries Anal Sex                     MG Premium Ltd.
PA0001906432   Brazzers Exxtra - Mom's House, Mom's Rules                    MG Premium Ltd.
PA0001906387   Brazzers Exxtra - Come On, You Want This                      MG Premium Ltd.
PA0001906386   Doctor Adventures - Angry Milfs in the E.R.                   MG Premium Ltd.
PA0001906361   Lets Try Anal - Russian Cutie Gives Anal a Try                MG Premium Ltd.
PA0001906248   Pervs On Patrol - Blonde Amateur Spied on by Webcam           MG Premium Ltd.
PA0001905165   Public Pickups - Casual Sex with a Hot Czech Girl             MG Premium Ltd.
PA0001904816   Brazzers Exxtra - Banging the Boss's Bratty Daughter          MG Premium Ltd.
PA0001904807   Latina Sex Tapes - Zoey's Vacation Sex Tape                   MG Premium Ltd.
PA0001904805   Pervs On Patrol - X-Rated Massage on the Balcony              MG Premium Ltd.
PA0001904694   Doctor Adventures - Ditching a Date for Doctor Dick           MG Premium Ltd.
PA0001904288   Public Pickups - Fucking on the Pool Table                    MG Premium Ltd.
PA0001904269   Brazzers Exxtra - Sensual, Sexual Jane                        MG Premium Ltd.
PA0001904179   Lets Try Anal - Bubble Butt Teen's First Anal                 MG Premium Ltd.
PA0001904138   Stranded Teens - Hooking Up with a Stranded Teen              MG Premium Ltd.
PA0001904093   Dirty Masseur - Dirty Massage Instruction                     MG Premium Ltd.
PA0001903987   Real Slut Party - Ass Flashing Amateur Sex Party              MG Premium Ltd.
PA0001903961   Doctor Adventures - Where There Is Ass, There Is Hope         MG Premium Ltd.
PA0001903886   Latina Sex Tapes - Latina Hottie Gets Fucked                  MG Premium Ltd.
PA0001903883   Stranded Teens - Hot Sex with a Horny Hitchhiker              MG Premium Ltd.
PA0001903860   CFNM - Perving Out on the Perv                                MG Premium Ltd.
PA0001903839   Public Pickups - Seduction of a Czech Amateur                 MG Premium Ltd.
PA0001903837   Brazzers Exxtra - A Stepmother's Touch                        MG Premium Ltd.
PA0001903822   Real Slut Party - Pool Party With Two Horny Girls             MG Premium Ltd.
PA0001903302   Lets Try Anal - Couple Films Their First Anal                 MG Premium Ltd.
PA0001903062   Stranded Teens - Stranded Teen Gets Fucked                    MG Premium Ltd.
A0121                                                                                          Page 51 of 52
         Case 2:21-cv-08533-MCS-SP     Document 280 Filed 02/12/24     Page 53 of 55 Page ID
                                              #:7140



PA0001901004   Public Pickups - Pounding the Pizza Delivery Girl               MG Premium Ltd.
PA0001901002   Lets Try Anal - Giving Ashley's Ghetto Booty a Hard Anal        MG Premium Ltd.
               Fuck
PA0001900974   Brazzers Exxtra - Ivy's Anal Addiction                          MG Premium Ltd.
PA0001900146   Stranded Teens - Blonde Cutie Fucks a Complete Stranger In      MG Premium Ltd.
               His Car
PA0001899431   Shes Gonna Squirt - Payback is a Squirt!                        MG Premium Ltd.
PA0001899428   Pervs On Patrol - Caught on Tape Sucking Cock                   MG Premium Ltd.
PA0001898876   Latina Sex Tapes - Latina Charlyse Sucks and Fucks Like a Pro   MG Premium Ltd.
PA0001898733   Real Slut Party - Fucking Amateurs on the Party Bus             MG Premium Ltd.
PA0001898732   Public Pickups - Receptionist Goes Back to Get Fucked           MG Premium Ltd.
PA0001897959   Lets Try Anal - Isabella's First Anal Fuck                      MG Premium Ltd.
PA0001897486   CFNM - Caught at the Peephole                                   MG Premium Ltd.
PA0001897471   Public Pickups - Going Deep In The Ring!                        MG Premium Ltd.
PA0001897359   Hot And Mean - Hot And Oily                                     MG Premium Ltd.
PA0001895744   Lets Try Anal - First Time Anal Pro!                            MG Premium Ltd.
PA0001895742   Real Wife Stories - Banging the Boss's Wife                     MG Premium Ltd.
PA0001895135   Real Wife Stories - Real Ex-Wives Of Beverly Hills              MG Premium Ltd.
PA0001895012   Public Pickups - The Price of Good Pussy                        MG Premium Ltd.
PA0001894043   Stranded Teens - Tangling Tongues with the Hitchhiker           MG Premium Ltd.
PA0001894042   Lets Try Anal - Kelly's Filthy First Anal                       MG Premium Ltd.
PA0001894031   Public Pickups - Closed for Business, Open for Pleasure         MG Premium Ltd.
PA0001894029   Stranded Teens - Hot Blonde Teen Hitchhiker Picked up and...    MG Premium Ltd.
PA0001892673   Teens Like It Big - Shae Summers Wants It In Her, Big Time      MG Premium Ltd.
PA0001936706   Drone Hunter - Brunette Bangs the Drone-Hunter!                 MG Premium Ltd.
PA0001897368   Stranded Teens - Stranded Teen Takes a Ride... On a Big Cock    MG Premium Ltd.
PA0001897307   Latina Sex Tapes - Latina Loses a Bet, Loses Her Shorts         MG Premium Ltd.


A0121                                                                                          Page 52 of 52
Case 2:21-cv-08533-MCS-SP    Document 280 Filed 02/12/24   Page 54 of 55 Page ID
                                    #:7141


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 4                                                           JS-6
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 8                          UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10   MG PREMIUM LTD, a limited               Case No. 2:21-cv-08533-MCS-SP
11   liability company organized under the
     laws of the Republic of Cyprus,         JUDGMENT
12
13                     Plaintiff,
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                 v.
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     JOHN DOES 4–20, d/b/a
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     GOODPORN.TO; AMRIT KUMAR,
17   an individual; LIZETTE LUNDBERG,
     an individual; and EMILIE BRUNN,
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     an individual,
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                       Defendants.
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Case 2:21-cv-08533-MCS-SP         Document 280 Filed 02/12/24     Page 55 of 55 Page ID
                                         #:7142


 1          Pursuant to the Court’s orders, it is ordered, adjudged, and decreed:
 2          1.     Judgment is entered in favor of MG Premium Ltd. and against Amrit
 3   Kumar, Lizette Lundberg, and Emilie Brunn on MG Premium’s claims. Judgment is
 4   entered in favor of MG Premium Ltd. and against Lizette Lundberg and Amrit Kumar
 5   on Lundberg and Kumar’s counterclaims.
 6          2.     MG Premium Ltd. shall recover from Amrit Kumar statutory damages in
 7   the sum of $2,157,000.
 8          3.     Plaintiff MG Premium Ltd. is the owner of all the works identified in
 9   Exhibit A to the First Amended Complaint.
10          4.     Amrit Kumar, Lizette Lundberg, and Emilie Brunn have no rights by virtue
11   of the “Bilateral Agreement” Kumar first identified in his Motion to Dismiss the
12   Complaint and again identified in his Answer to the First Amended Complaint.
13          5.     Amrit Kumar, Lizette Lundberg, and Emilie Brunn shall pay to MG
14   Premium Ltd. attorney’s fees in the sum of $46,740. As prevailing party, MG Premium
15   is entitled to recover its costs of suit.
16          6.     MG Premium Ltd. is entitled to recover postjudgment interest at the rate
17   prescribed by 28 U.S.C. § 1961(a).
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19   IT IS SO ORDERED.
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21    Dated: February 9, 2024
22                                                   MARK C. SCARSI
                                                     UNITED STATES DISTRICT JUDGE
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